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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 REGENERON PHARMACEUTICALS, INC.
                                                     CASE NO.:
                 Plaintiff,

        v.
                                                     JURY TRIAL DEMANDED
 NOVARTIS PHARMA AG, NOVARTIS
 TECHNOLOGY LLC, NOVARTIS
 PHARMACEUTICALS CORPORATION,
                                                     COMPLAINT
 VETTER PHARMA INTERNATIONAL
 GMBH

                 Defendants.


       Plaintiff Regeneron Pharmaceuticals, Inc. (“Regeneron”) files this Complaint against

Defendants, Novartis Pharma AG, Novartis Technology LLC, and Novartis Pharmaceuticals

Corporation (collectively, “Novartis”) and Vetter Pharma International GmbH (“Vetter”), and

alleges, upon knowledge as to itself and otherwise upon information and belief, as follows:

                                     NATURE OF ACTION

       1.      Plaintiff Regeneron’s EYLEA® (aflibercept) injection (“EYLEA”) is an innovative

biologic drug for the treatment of a variety of severe eye diseases.

       2.      Defendant Novartis developed and recently launched BEOVU® (brolucizumab-

dbll) injection (“BEOVU”), which competes against EYLEA to treat a certain eye disease.

Novartis, together with Genentech, Inc. (“Genentech”), also co-developed LUCENTIS®

(ranibizumab) injection (“LUCENTIS”), which competes against EYLEA to treat most of the

same eye diseases. Novartis markets LUCENTIS outside of the United States, and benefits from

the sales of LUCENTIS in the United States through its significant financial stake in Roche
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Holding AG (“Roche”), the parent company of Genentech, which markets LUCENTIS in the

United States.1 Defendant Vetter is an essential supply chain provider of drug “filling” services

and is the exclusive filler for Novartis’s LUCENTIS prefilled syringe (“PFS”) product. Upon

information and belief, Vetter will be the filler for Novartis’s BEOVU PFS once it launches in the

United States. Vetter also has a longstanding relationship with Regeneron, both as a filler for

EYLEA vials and as a prior development partner for an EYLEA PFS.

       3.      Defendant Novartis, unwilling to compete on the clinical merits of LUCENTIS or

BEOVU against EYLEA, has done everything in its power to try to stop EYLEA through

anticompetitive means. BEOVU’s launch has been riddled with serious safety issues, and

LUCENTIS is a less effective treatment than EYLEA for certain diabetic eye diseases and requires

more frequent injections (per the FDA-approved label) at a time when in-patient trips to medical

doctors are difficult with the COVID-19 pandemic.2 Novartis has therefore resorted to various

unlawful means, including the enforcement of a fraudulently procured United States patent and an

anticompetitive licensing and settlement agreement with Vetter, all as part of a scheme to attempt

to monopolize the market and/or unreasonably restrain competition for PFS ophthalmic drug

treatments. Defendants’ purpose and intent throughout this scheme has been to prevent, deter, or

at least delay the competitive launch of EYLEA PFS for years, to artificially inflate Regeneron’s

costs of entry, and now to stop Regeneron altogether from competing in the U.S. market with




1
       All references to LUCENTIS refer to the product that was co-developed by Novartis and is
marketed by Novartis outside the United States and by Genentech inside the United States.
2
         Compare U.S. Food and Drug Administration, Lucentis® (ranibizumab injection), “Highlights of
Prescribing                      Information,                      available                       at
https://www.accessdata.fda.gov/drugsatfda_docs/label/2017/125156s111lbl.pdf with U.S. Food and Drug
Administration, Eylea® (aflibercept), “Highlights of Prescribing Information, available at
https://www.regeneron.com/sites/default/files/EYLEA_FPI.pdf.


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EYLEA PFS. In addition to Regeneron, physicians and patients have been the victims of this

scheme because Novartis’s and Vetter’s actions are aimed at limiting the availability of the most

effective and convenient ophthalmic PFS drug treatment—EYLEA PFS.

        4.      By this action for injunctive relief and damages, Regeneron seeks to stop

Defendants Novartis and Vetter from continuing their illegal conduct in violation of Sections 1

and 2 of the Sherman Antitrust Act, 15 U.S.C. §§ 1 and 2.

                                           INTRODUCTION

        5.      Regeneron’s EYLEA and Novartis’s LUCENTIS and BEOVU are competing

drugs that treat certain eye diseases involving overproduction of a naturally occurring protein in

the body called vascular endothelial growth factor (“VEGF”). This VEGF overproduction can

cause vision loss and even blindness, and many millions of patients suffer from VEGF-related eye

diseases.

        6.      As “anti-VEGF” drugs, EYLEA, LUCENTIS, and BEOVU must be injected with

regular frequency into a patient’s eye. The frequency, manner, and safety of injection are important

factors in the success of treatment, and the method of administration is therefore significant. In

that regard, EYLEA and LUCENTIS were historically sold only in vial form and ultimately loaded

into a separate needle or syringe for injection. Recently, however, the market for anti-VEGFs has

converted from vial to PFS, which is a more accurate and more convenient method of

administration that carries a lower risk of introducing foreign particles into the eye, which can

cause severe complications such as endophthalmitis. LUCENTIS and EYLEA are by far the

primary approved anti-VEGF PFS available in the United States.3

        7.      There are numerous challenges associated with commercializing a PFS with a


3
        While Macugen received FDA approval in 2004 for a prefilled syringe to treat one VEGF-related
eye disease only, it is also an older, less effective treatment that is rarely prescribed anymore, if at all.

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complex biologic drug such as EYLEA or LUCENTIS. For example, there are a limited number

of companies that can fill the syringe with the drug in accordance with the required sterile

conditions, and the existing “fillers” have limited capacity. Vetter is the leading PFS filler and is

the exclusive PFS filler for Novartis’s LUCENTIS PFS. Regeneron and Vetter also have had a

long-standing relationship. For many years, Vetter has provided non-exclusive filling services to

Regeneron for EYLEA in vial form. More specifically, starting in 2005, Regeneron and Vetter

also embarked on a collaboration to commercialize an EYLEA PFS. This successful collaboration

led to regulatory approval for EYLEA PFS in Australia in 2012.

        8.      Unbeknownst to Regeneron, however, as Regeneron and Vetter were jointly

working to commercialize an EYLEA PFS, Novartis was pursuing its own mission in 2013 to

fraudulently procure a United States patent claiming a PFS containing any anti-VEGF drug,

including EYLEA, which Novartis and Vetter would soon use to unreasonably restrain

Regeneron’s ability to compete. Given that the prior art already described and disclosed such a

PFS, Novartis could secure its patent only by ensuring that the U.S. Patent and Trademark Office

(“USPTO”) was not aware of that prior art. And Novartis did just that. By deliberately withholding

material prior art from the USPTO, Novartis succeeded in obtaining a patent—U.S. Patent No.

9,220,631 (the “’631 Patent”)—broadly claiming a PFS with any anti-VEGF, including EYLEA.4

As pled in detail below, specific Novartis employees involved in the prosecution of the ’631 Patent

knew of the omitted prior art and also knew the omitted prior art was material because of multiple

decisions by a set of USPTO examiners in a separate patent application covering overlapping

subject matter that Novartis ultimately abandoned. In order to gain allowance of the ’631 Patent,

the Novartis employees made a deliberate decision to withhold the prior art from the different


4
        The ’631 Patent specifically identifies EYLEA and states that “[a]flibercept is the preferred non-
antibody VEGF antagonist for use with the invention.” ’631 Patent at Col. 6, ll. 42-43.

                                                    4
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USPTO examiner that was reviewing the application for the ’631 patent.

       9.      Further unknown to Regeneron, Novartis and Vetter were vying to control the

patent application underlying the ’631 Patent. Using this dispute as a pretense, Novartis and Vetter

entered into an anticompetitive conspiracy around 2013 to unreasonably restrain competition in

anti-VEGF PFS treatments for ophthalmic diseases. Novartis effectively used the settlement

process for the then-pending application that would become the ’631 Patent to obtain control and

influence over Vetter’s PFS filling services so as to inhibit anti-VEGF rivals like Regeneron. This

“settlement” provided Vetter with a “co-exclusive” license to what would become Novartis’s

fraudulently procured ʼ631 Patent and the exclusive right to grant sublicenses. The quid pro quo

was that Novartis extracted a lucrative economic interest in Vetter’s PFS filling services in the

form of Vetter’s assent to place onerous and anticompetitive restrictions on Novartis’s rivals—like

Regeneron—that had been working with Vetter all along. This anticompetitive agreement co-opted

Vetter and enabled Novartis to exert influence over Vetter’s current and future customer

relationships so that Novartis could undermine competitors’ efforts to develop and sell competing

anti-VEGF PFS drugs. As for Vetter, it stood to benefit from this agreement by becoming the sole

filler for all anti-VEGF PFS drugs—since Novartis would wield its fraudulently procured ʼ631

Patent against any company that tried to compete by using a different PFS filler.

       10.     Immediately following its “settlement” with Novartis, and despite the

approximately eight year long collaboration with Regeneron to commercialize an EYLEA PFS,

Vetter did just as Novartis had intended. Vetter abruptly reversed course with Regeneron in 2013.

Vetter chose the path of illicit profits by colluding with Novartis to control the supply of anti-

VEGF PFS treatments. Specifically, Vetter contacted Regeneron in October 2013, claimed that

Novartis had a pending patent application, and demanded that Regeneron take a sublicense to the



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yet to be issued ’631 Patent before Vetter would continue their collaboration on EYLEA PFS—

even though the ’631 Patent would not even issue for two more years. As a condition of

continuing their work on EYLEA PFS, Vetter also required that Regeneron submit to two

anticompetitive restrictions: (1) Regeneron must use Vetter as its exclusive PFS filler for the next

20 years—i.e., for the entire life of Novartis’s yet to be issued ’631 Patent; and (2) Regeneron

must never challenge the validity or enforceability of Novartis’s yet to be issued ’631 Patent.

       11.     Regeneron could not—and did not—accept this offer. First, the unlawful “no

challenge” requirement was unacceptable given Regeneron’s own role in developing EYLEA PFS

and the extensive prior art (including the prior art Novartis deliberately withheld from the USPTO

during prosecution of the ’631 Patent) showing that the claimed PFS in Novartis’s patent was not

patentable. Separately, Regeneron could not agree to be locked into an exclusive supply

arrangement with Vetter for 20 years because it would inhibit the competitiveness of EYLEA PFS.

Vetter is the capacity-constrained exclusive supplier of LUCENTIS PFS and Regeneron had

certain quality concerns about Vetter as its sole PFS filler—two issues that Vetter failed to address.

Consequently, Regeneron had no choice but to decline Vetter’s (and Novartis’s) unlawful

demands.

       12.     The overarching goal of Novartis’s and Vetter’s conspiracy has been to control—

and unreasonably restrain—competition in anti-VEGF PFS treatments for certain ophthalmic

diseases. Their initial plan was to have all anti-VEGF PFS drugs run through Novartis and the PFS

filling services for those drugs to run exclusively through Vetter. Regeneron’s EYLEA has been

the only real competitive threat to LUCENTIS PFS, giving both Novartis and Vetter (now as a co-

conspirator) significant economic motives to lock up Regeneron’s EYLEA PFS business by

leveraging Novartis’s fraudulently procured ’631 Patent. To this end, Novartis and Vetter sought



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to hold Regeneron captive to Vetter’s limited-supply PFS filling services for 20 years as a

condition of Regeneron obtaining a covenant that Novartis (or Vetter) would not sue Regeneron

on the fraudulently procured ’631 Patent. But when Regeneron rejected Novartis’s and Vetter’s

unlawful efforts to coerce Regeneron into an exclusive arrangement, Novartis and Vetter conspired

to keep EYLEA PFS out of the market altogether.

       13.     To Novartis’s benefit, Novartis and Vetter agreed to deny Regeneron access to any

of Vetter’s essential PFS filling services for EYLEA PFS. Not only did this denial represent an

abrupt change in Vetter’s collaboration with Regeneron to commercialize EYLEA PFS, but it also

was in stark contrast to Vetter’s then and current relationship with Regeneron filling EYLEA vials

without exclusivity. As for commercialization of the EYLEA PFS, Novartis and Vetter knew that

Regeneron would need to start over with few to no PFS filler options for this critical aspect of the

supply chain, resulting in years of delay and additional, substantial, and unnecessary costs. And

that is exactly what happened to Regeneron.

       14.     Novartis and Vetter did not stop there, however. They doubled down on their

conspiracy to limit competition from EYLEA PFS after the ’631 Patent issued in December 2015.

With the fraudulently procured ’631 Patent in hand by that point, Vetter again demanded the same

anticompetitive terms (an exclusive filling agreement and no challenge clause) from Regeneron in

late 2017. Regeneron again refused. Two and a half years later, after Regeneron had successfully

created a new supply and filler chain for EYLEA PFS and launched it in the United States, and

when Novartis’s BEOVU’s safety problems came to light, Novartis took the next step in this illicit

scheme. On June 19, 2020, Novartis filed a patent infringement complaint at the U.S. International

Trade Commission (“ITC”) asserting its fraudulently procured ’631 Patent and seeking an

exclusion order barring importation of EYLEA PFS components into the United States. Novartis



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also filed a companion infringement complaint in the Northern District of New York (“NDNY”)

seeking damages and injunctive relief for alleged infringement of ’631 Patent. Despite knowing

that the ’631 Patent was fraudulently procured and unenforceable, Novartis filed multiple

litigations in yet another attempt to block EYLEA PFS from the U.S. market, or at the very least,

to artificially increase Regeneron’s costs even more by erecting anticompetitive barriers to sale.

       15.     Defendants’ anticompetitive conduct has injured and continues to injure patients,

physicians, and Regeneron. Instead of competing on the merits, Novartis and Vetter have

concocted numerous anticompetitive obstacles to initially try to stop Regeneron from launching—

and now from selling—EYLEA PFS. By forcing Regeneron to navigate around artificial and

unlawful barriers, Defendants have delayed EYLEA PFS by years in coming to the U.S. market.

Defendants imposed additional, substantial, and unnecessary costs on Regeneron to establish a

reliable alternative supply and filler chain in order to commercialize EYLEA PFS. Now

Defendants are forcing Regeneron to spend time and limited resources defending an ITC action

and a patent infringement lawsuit based on a fraudulently procured patent, and would have

Regeneron invest millions of dollars and months attempting to develop a contingent supply of

EYLEA in vial form to hedge against the possibility that Novartis obtains an exclusion order from

the ITC.

       16.     Worst of all, if Novartis’s unlawful efforts succeed, patients and physicians will be

deprived of EYLEA PFS altogether. Novartis will regain its monopoly over anti-VEGF PFS

treatments for ophthalmic diseases and Vetter will remain the sole PFS filler for those treatments.

Tellingly, in its ITC submissions, Novartis does not even attempt to claim that any alternative anti-

VEGF PFS exists for EYLEA PFS other than LUCENTIS PFS. And the only other potential near-

term PFS entrant is another Novartis drug, BEOVU, which has serious safety issues. Through the



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anticompetitive enforcement of the fraudulently procured ’631 Patent, Novartis is trying to force

physicians and patients to make a difficult choice between LUCENTIS PFS, which offers

numerous advantages through its PFS delivery method, and the EYLEA vial, a medication that is

regarded by many physicians and patients as a superior anti-VEGF eye disease treatment but is

administered using a non-preferred method. This is particularly harmful because physicians are

naturally reluctant to switch a patient who is responding well to one anti-VEGF to another anti-

VEGF treatment. In a competitive marketplace, physicians and patients would not have to make

this difficult tradeoff. They should continue to have access to an anti-VEGF PFS that combines all

of these medical advantages in one—Regeneron’s EYLEA PFS.

       17.     Regeneron is compelled to bring this lawsuit to stop Defendants’ unlawful behavior

and to hold Defendants accountable in front of a jury in a public court of law for their

anticompetitive conduct.

                                    PARTIES TO ACTION

       18.     Plaintiff Regeneron is a corporation organized and existing under the laws of the

State of New York with its principal place of business located at 777 Old Saw Mill River Road,

Tarrytown, New York 10591. Regeneron is in the business of inventing, developing,

manufacturing, and marketing a variety of innovative pharmaceutical products, including EYLEA

and EYLEA PFS.

       19.     Defendant Novartis Pharma AG is a corporation organized and existing under the

laws of Switzerland, with an office and a place of business located at Forum 1 Novartis Campus,

CH-4056 Basel, Switzerland.

       20.     Defendant Novartis Pharmaceuticals Corporation is a corporation organized and

existing under the laws of the state of Delaware with its principal place of business located at One



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Health Plaza, East Hanover, New Jersey 07936. Novartis Pharmaceuticals Corporation is an

affiliate of Novartis Pharma AG.

        21.     Defendant Novartis Technology LLC is a corporation organized and existing under

the laws of the state of Delaware with its principal place of business located at One Health Plaza,

East Hanover, New Jersey 07936.

        22.     Defendant Vetter is a company organized and existing under the laws of Germany,

with its principal place of business located at Eywiesenstrasse 5, 88212 Ravensburg, Germany.

Vetter also operates facilities located in Des Plaines and Skokie, Illinois.5

                                  JURISDICTION AND VENUE

        23.     This Court has subject matter jurisdiction over all claims asserted against

Defendants pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1337(a), 15 U.S.C. § 4, 15 U.S.C. § 15, and

15 U.S.C. § 26.

        24.     This Court has personal jurisdiction over Defendants under the U.S. Constitution

and nationwide contacts under Section 12 of the Clayton Act, 15 U.S.C. § 22.

        25.     Venue is proper in this District under Section 12 of the Clayton Act, 15 U.S.C. §

22, and under 28 U.S.C. § 1391(b) and (c).

        26.     For personal jurisdiction and venue purposes, Defendants can be found in, and

transact business in, this District, including through the marketing and sale of LUCENTIS PFS

and BEOVU. Defendants’ unlawful behavior was specifically intended to, has had, and will

continue to have an anticompetitive effect and impact on Regeneron and U.S. consumers in this

District, and elsewhere.



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        Vetter U.S. Locations, available at https://www.vetter-pharma.com/en/about-us/locations/chicago-
skokie (last visited July 11, 2020).


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                                  INTERSTATE COMMERCE

       27.     The commercialization, development, manufacturing, marketing, sale, and

distribution of EYLEA, LUCENTIS, and BEOVU occurs in interstate commerce.

                                  FACTUAL BACKGROUND6

       A.      Anti-VEGF Drugs for Treating Ophthalmic Diseases

       28.     Anti-VEGF drugs, like EYLEA and LUCENTIS, are used to treat certain

ophthalmic diseases that can cause vision loss or blindness, including Wet Age-Related Macular

Degeneration, Diabetic Retinopathy, Diabetic Macular Edema, and Macular Edema following

Retinal Vein Occlusion. Another anti-VEGF drug, BEOVU, was recently approved for the

treatment of Wet Age-Related Macular Degeneration only.

       29.     These complex biologics work by targeting over-produced VEGF proteins and

blocking or inhibiting them. This reduces abnormal blood vessel growth and leakage in the eye,

which helps to stabilize vision loss, and in some cases, can even reverse vision loss and restore

sight. Anti-VEGF treatments are only effective at maintaining or improving vision when

administered regularly on a continuing basis.

       30.     Patients receive treatment for these ophthalmic diseases in a physician’s office. An

ophthalmologist (typically a retinal specialist) must administer anti-VEGF drugs via syringe with

an injection near the retina in the back of the eye, known as an “intravitreal injection.”

       B.      Ophthalmic Diseases that Cause Vision Loss and Blindness

                i.     Wet Age-Related Macular Degeneration

       31.     Wet Age-Related Macular Degeneration (“wet AMD”) is the most severe form of



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        The factual allegations in this Complaint are made based upon Regeneron’s first-hand knowledge
with the exception of allegations made upon information and belief regarding Defendants’ conduct.


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an eye disease that is the leading cause of blindness among older Americans.

        32.     An estimated 11 million Americans suffer from some form of AMD, which erodes

central vision. AMD has two forms: wet and dry. While dry AMD leads to a gradual loss of vision,

wet AMD leads to faster vision loss and is the most advanced form of the disease. It is responsible

for 90 percent of all AMD-related blindness.

        33.     Wet AMD patients see the world as if through distorted lenses: straight lines may

appear bent, central vision may be reduced, colors may be dulled, and patients may see haziness.

Patients may also experience a well-defined blurry or blind spot in their central field of vision:7




        34.     Day-to-day activities, such as reading, writing, driving, or even recognizing faces,

are difficult for patients with wet AMD. The debilitating effects of wet AMD worsen over time

and can be irreversible. If left untreated, wet AMD may cause permanent blindness.

        35.     Wet AMD is caused by an overproduction of a naturally occurring VEGF protein

in the body. VEGF’s normal role is to trigger formation of new blood vessels supporting the growth

of the human body’s tissues and organs. When cells secrete too much VEGF into the eye, however,

abnormal blood vessels grow underneath the macula and retina. These abnormal blood vessels can

leak blood or fluid, blurring central vision and potentially causing blindness.



7
       National Institutes of Health, https://www.nih.gov/health-information/nih-clinical-research-trials-
you/age-related-macular-degeneration-amd (last visited July 13, 2020).


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                 ii.    Diabetic Retinopathy and Diabetic Macular Edema
        36.     Diabetes is the leading cause of new cases of blindness in people 20 to 74 years of

age in the United States.

        37.     Diabetic Retinopathy (“DR”) is the most common diabetic eye disease and can lead

to vision loss. DR occurs when too much blood sugar damages the blood vessels in the retina. As

a result, the retina does not receive enough oxygen and nutrients, and blood vessels can leak blood

and fluid into the retina.

        38.     If DR progresses into its most advanced stage, an increased growth of new blood

vessels occurs. These new blood vessels are fragile and easily damaged, which adds to the swelling

and leaking in the retina.

        39.     Diabetic Macular Edema (“DME”) is a complication of DR that can lead to further

vision problems. DME occurs if the macula, the area of the retina at the back of the eye responsible

for sharp central vision, swells with fluid leaked from those damaged blood vessels. DME can

degrade the patient’s vision and, if left untreated, can cause blindness.

                iii.    Macular Edema following Retinal Vein Occlusion
        40.     Retinal Vein Occlusion (“RVO”) occurs when a blood vessel in the retina becomes

blocked, often by a blood clot.

        41.     When fluid leaks into the macula as a result of the blocked blood vessel, it is called

Macular Edema following Retinal Vein Occlusion (“MEfRVO”). Vision loss or blurring occurs

as the macula swells with the fluid.

        C.      FDA-Approved Anti-VEGF Drugs

        42.     There are several anti-VEGFs approved by the U.S. Food and Drug Administration

(“FDA”) to treat certain ophthalmic diseases in the United States. The two primary approved drug

treatments include EYLEA and LUCENTIS. Recently, FDA approved another anti-VEGF drug

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product for the treatment of wet AMD, BEOVU® (brolucizumab-dbll) injection. BEOVU is also

marketed by Defendant Novartis, but it has resulted in a host of severe safety issues for patients.

                i.     LUCENTIS

       43.     LUCENTIS is the brand name for the anti-VEGF (ranibizumab injection) co-

developed by Defendant Novartis and Genentech, a wholly-owned subsidiary of Roche. Novartis

paid Genentech/Roche an initial milestone fee and shared the cost for the subsequent development

by making additional milestone payments upon the achievement of certain clinical development

points and product approval. Novartis also markets and pays royalties on the net sales of

LUCENTIS outside of the United States.8

       44.     FDA first approved LUCENTIS in vial form in the United States in June 2006.

FDA approved LUCENTIS in a PFS in October 2016, and it launched shortly thereafter in early

2017. At this time nearly all LUCENTIS is sold in PFS in the United States.

       45.     LUCENTIS is currently indicated for the treatment of patients with certain

ophthalmic diseases, including wet AMD, DR, DME, and MEfRVO. LUCENTIS is recommended

for intravitreal injection once a month.

       46.     LUCENTIS is a multi-billion dollar franchise globally. LUCENTIS sales in the

United States in 2018 amounted to approximately $1.6 billion9 while LUCENTIS sales in Europe




8
        Form 20-F 2009, Novartis AG, “United States Securities and Exchange Commission Form 20-F
2009” (Jan. 26, 2010), available at https://www.novartis.com/sites/www.novartis.com/files/Novartis-20-F-
2009.pdf.
9
         Finance   Report     2018,   Roche,    “Finance    Report     2018”     available      at
https://www.roche.com/dam/jcr:933329c4-4564-4b17-a29b-246ac7e617d5/en/fb18e.pdf (last visited July
13, 2020).


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and the rest of the world in 2018 amounted to $2 billion.10

       47.     Under the terms of their commercial agreement, Genentech has marketing rights

for LUCENTIS in North America (United States, Canada, and Mexico) while Novartis has

exclusive commercialization rights to sell LUCENTIS in Europe and the rest of the world.11

       48.     Novartis has multiple economic interests in the LUCENTIS franchise. Novartis not

only has 100% of the commercial rights for LUCENTIS outside of North America, but it also owns

a 33.3% stake in Roche—the parent company of Genentech that sells LUCENTIS PFS in the

United States. Novartis has had an ownership in Roche dating back to 2001.12 Indeed, Novartis’s

current 33.3% stake in Roche is worth approximately $12.9 billion.13 Novartis has received

dividend payments from Roche in excess of CHF 4 billion (approximately $4.3 billion USD) since

2001.14 Novartis accordingly benefits from LUCENTIS’ sales outside of the U.S. as well as

LUCENTIS’ U.S. sales through its 33.3% ownership stake in Roche.

       49.     In addition, Novartis licensed its ’631 Patent to Genentech for LUCENTIS PFS in

the United States.15 According to Novartis, the “LUCENTIS PFS uses Novartis’s PFS technology


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        Form 20-F 2018, Novartis AG, “United States Securities and Exchange Commission Form 20-F
2018” (Jan. 30, 2019), available at https://www.novartis.com/sites/www.novartis.com/files/novartis-20-f-
2018.pdf.
11
        Press Release, Genentech, “Genentech and Novartis Ophthalmics Announce Development and
Commercialization Agreement for Age-Related Macular Degeneration Treatment, Lucentis” (June 24,
2003), available at https://www.gene.com/media/press-releases/6327/2003-06-24/genentech-and-novartis-
ophthalmics-annou.
12
         Roche, Investors, Frequently Asked Questions, Major Shareholders, available                  at
https://www.roche.com/investors/faq_investors/major_shareholders.htm (last visited July 13, 2020).
13
         Novartis,          2018           Annual             Report,           available             at
https://www.novartis.com/sites/www.novartis.com/files/novartis-annual-report-2018-en.pdf.
14
         Novartis Delays Sale of Roche Stake, SeeNews Switzerland (Oct. 24, 2016), available at
https://advance.lexis.com/api/permalink/8b30d1d6-ccfd-4f0d-bed0-1c5bd7708fee/?context=1000516.
15
       See Certain Pre-Filled Syringes for Intravitreal Injection and Components Thereof, DN 3460,

                                                  15
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including the inventions recited in the ’631 patent. Genentech’s commercialization of the

LUCENTIS PFS in the United States is pursuant to a license to that technology, including the ’631

[P]atent.”16

                 ii.    EYLEA

        50.     EYLEA (aflibercept) is a novel and groundbreaking anti-VEGF developed by

Regeneron. EYLEA is an entirely different biologic than LUCENTIS. EYLEA is currently

indicated for the treatment of patients with the following ophthalmic diseases: wet AMD, DR,

DME, and MEfRVO.

        51.     Regeneron’s EYLEA provides substantial benefits to patients compared to

LUCENTIS because it requires less frequent injections. EYLEA is recommended for intravitreal

injection once a month for the first three months, but then—unlike LUCENTIS—EYLEA can be

injected once every two months to treat wet AMD, DR, and DME. Clinical studies show that

EYLEA administered every two months was clinically equivalent to LUCENTIS (the previous

standard of care) dosed every month.17 EYLEA also has been proven to provide superior vision

gains when compared to treatment with LUCENTIS in certain patients with DME.18

        52.     Because of its unique design (wherein two VEGF-binding domains from two



USITC No. 337-TA-[__], Compl., ¶ 7 (June 19, 2020) (“Additionally, Novartis licensed the ’631 patent to
Genentech, Inc. (‘Genentech’). Genentech operates an industry in the United States relating to the Asserted
Patent based on its LUCENTIS® (ranibizumab) pre-filled syringe product (“LUCENTIS PFS”), which
practices at least one claim of the Asserted Patent.”); ¶ 14 (“Genentech is licensed by Novartis to practice
the Asserted Patent and is the exclusive U.S. provider of the LUCENTIS PFS, a domestic industry
product.”) (the “ITC Compl.”).
16
        See ITC Compl., ¶ 29.
17
        Id.
18
        See Wells, “Aflibercept, Bevacizumab, or Ranibizumab for Diabetic Macular Edema: Two-year
Results from a Comparative Effectiveness Randomized Clinical Trial,” Ophthalmology (June 2016).


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VEGF receptors are grafted onto an antibody “Fc” domain), EYLEA is likely to bind the VEGF

target more tightly than LUCENTIS (which has only one VEGF binding domain), resulting in a

stronger inhibition of VEGF in the patients’ eyes. Furthermore, unlike LUCENTIS, which binds

only to VEGF-A, EYLEA has the unique ability to bind to multiple VEGF family members,

including VEGF-A, VEGF-B, and PIGF (placental growth factor). The three-dimensional

configuration of EYLEA enables it to simultaneously bind both sides of the VEGF molecule in a

“two-fisted grasp.”

        53.     After years of research and development, and thorough regulatory review, EYLEA

first received FDA approval in vial form in November 2011.19 FDA designated EYLEA as a

“Priority Review,” which FDA only gives to drugs that represent “significant improvements in the

safety or effectiveness of the treatment, diagnosis, or prevention of serious conditions when

compared to standard applications.”20

        54.     Following EYLEA’s FDA approval, a clinical ophthalmologist and retina specialist

at the Ophthalmic Consultants of Boston explained the benefits compared to LUCENTIS:

“EYLEA offers the potential of achieving the efficacy we’ve come to expect from current anti-

VEGF agents, but with less frequent injections and monitoring. This may reduce the need for

costly and time-consuming monthly visits for patients and caregivers.”21



19
         Press Release, Regeneron, “Regeneron Announces FDA Approval of EYLEA™ (aflibercept)
Injection for the Treatment of Wet Age-Related Macular Degeneration,” (Nov. 18, 2011), available at
https://investor.regeneron.com/news-releases/news-release-details/regeneron-announces-fda-approval-
eylea153-aflibercept-injection.
20
         U.S.    Food      and      Drug      Administration, “Priority    Review,”      available   at
https://www.fda.gov/patients/fast-track-breakthrough-therapy-accelerated-approval-priority-
review/priority-review (last visited July 13, 2020).
21
         Press Release, Regeneron, “Regeneron Announces FDA Approval of EYLEA™ (aflibercept)
Injection for the Treatment of Wet Age-Related Macular Degeneration,” (Nov. 18, 2011), available at
https://investor.regeneron.com/news-releases/news-release-details/regeneron-announces-fda-approval-

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        55.     Regeneron markets EYLEA in the United States while Bayer Healthcare (“Bayer”)

has the exclusive marketing rights for EYLEA outside the United States.

        56.     Since EYLEA’s launch in vial form in 2011, Regeneron has not implemented any

price increases in the U.S. market. This is unique when the average price of branded prescription

drugs has increased by double-digit percentages annually.22

        57.     FDA approved EYLEA in a PFS form on August 13, 2019.23 Regeneron started

selling EYLEA PFS on December 9, 2019, and commenced a full-scale commercial launch in late

February 2020. After only months on the market, physicians and patients have demonstrated an

overwhelming preference for EYLEA PFS compared to the vial, and now approximately 80% of

EYLEA sales are in PFS form. It is likely that nearly all EYLEA sales will convert to PFS within

the year.

        58.     In addition, market share has already shifted from LUCENTIS PFS to EYLEA PFS

within mere months of Regeneron’s full-scale launch.

                iii.    BEOVU

        59.     BEOVU is the brand name for another anti-VEGF (brolucizumab-dbll) developed

by Novartis. The FDA approved BEOVU in vial form for the treatment of wet AMD only on

October 7, 2019, and Novartis launched BEOVU in the United States shortly thereafter.24



eylea153-aflibercept-injection.
22
         Producer Price Index by Industry: Pharmaceutical and Medicine Manufacturing, available at
https://fred.stlouisfed.org/series/PCU32543254.
23
       Press Release, Regeneron, “FDA Approves EYLEA (aflibercept) Injection Prefilled Syringe,”
(Aug. 13, 2019), available at https://newsroom.regeneron.com/news-releases/news-release-details/fda-
approves-eylear-aflibercept-injection-prefilled-syringe.
24
         Press Release, Novartis, “Novartis receives FDA approval for Beovu®, offering wet AMD patients
vision gains and greater fluid reception vs aflibercept” (Oct. 8, 2019), available at
https://www.novartis.com/news/media-releases/novartis-receives-fda-approval-beovu-offering-wet-amd-

                                                  18
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        60.     Recognizing the overwhelming demand for anti-VEGFs in PFS form, Novartis is

conducting clinical trials for a PFS version of BEOVU for the treatment of wet AMD in the United

States. Upon information and belief, Novartis intends to seek FDA approval for, and launch, a PFS

version of BEOVU.25 According to Novartis, it “has [] engaged in significant work to prepare for

offering a PFS presentation for BEOVU in the United States upon FDA approval, and has an

anticipated timeline for FDA approval of the BEOVU PFS and subsequent launch in the United

States.”26 Indeed, Novartis’s October 8, 2019, press release announcing BEOVU’s FDA approval

featured an image of BEOVU in PFS form.27




        61.     Within mere months of BEOVU’s launch, however, BEOVU patients experienced

a range of severe safety issues. Physicians immediately began reporting that BEOVU patients were

suffering from serious adverse reactions, including higher rates of intraocular inflammation

(“IOI”), incidences of retinal artery occlusion (“RAO”), and occlusive retinal vasculitis (“ORV”).


patients-vision-gains-and-greater-fluid-reductions-vs-aflibercept.
25
        See ITC Compl. ¶ 6 (“Novartis is currently seeking FDA approval for BEOVU in a PFS
presentation[.]”); see also id. at ¶ 69 (“Once FDA approval for the PFS presentation is achieved, Novartis
has tangible plans to introduce the PFS to the market.”).
26
        See ITC Compl. ¶ 24.
27
         Press Release, Novartis, “Novartis receives FDA approval for Beovu®,” (Oct. 8, 2019), available
at https://novartis.gcs-web.com/static-files/f3950fa0-a54d-4533-be36-4eed3baadc13.


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        62.     IOI occurs when fluids or structures within the eye become inflamed from irritation

or inflammation. IOI may result from use of a specific product that causes irritation, or it may

result from an irritant or infectious agent brought into contact with the eye. IOI is an urgent medical

condition that ranges in severity, and serious IOI can lead to blindness. RAO occurs when the

retinal artery becomes blocked (occluded), and oxygen cannot be delivered to the eye. Depending

on the location and severity of the blockage, RAO can rapidly lead to permanent blindness. ORV

occurs when the inflammation in the eye (i.e., IOI) is so severe that it narrows the retinal artery

until it closes off (i.e., an RAO), blocking blood flow to the retina. ORV can quickly result in

irreversible blindness as blockage of the retinal artery means oxygen cannot be delivered to the

retina. ORV is a new adverse event not seen in patients treated with EYLEA or other anti-VEGFs.

        63.     These incidences of IOI, RAO, and ORV prompted a prominent ophthalmology

organization, the American Society of Retinal Specialists (“ASRS”), to issue five public warnings

about the potential harmful effects of BEOVU. The ASRS released Safety Bulletins on January

22, February 23, March 30, April 7, and most recently on June 4, 2020, advising physicians about

incidences of severe inflammation in patients injected with BEOVU. According to ASRS’s

February 23, 2020 announcement, “In addition to cases of mild-moderate intraocular inflammation

[IOI], these reports have included 14 cases of vasculitis, of which 11 were designated as occlusive

retinal vasculitis [ORV] by the reporting provider.”28 In response to physician and patient outcry,

Novartis conducted an external safety review of BEOVU, examining post-marketing events in

patients compared to its clinical trials.29



28
        American Society of Retinal Specialists, “Beovu Update for ASRS Members,” (Feb. 23, 2020),
available at https://www.asrs.org/clinical/clinical-updates.
29
        Press Release, Novartis, “Novartis Completes Safety Review and Initiates Update to the Beovu®
Prescribing Information Worldwide” (Apr. 8, 2020), available at https://www.novartis.com/news/novartis-

                                                  20
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       64.     Given the severity of these adverse reactions suffered by BEOVU patients, Novartis

ultimately sought FDA approval of an updated label for BEOVU to warn patients and physicians

about the additional safety risks associated with the treatment. On June 11, 2020, Novartis received

FDA approval for its new BEOVU label, which included an explicit “sub-section dedicated to

retinal vasculitis and/or retinal vascular occlusion under ‘Warnings and Precautions.’”30 Novartis

was forced to acknowledge that BEOVU may cause adverse events in patients of “retinal vasculitis

and/or retinal vascular occlusion that may result in severe vision loss. Typically these events occur

in the presence of intraocular inflammation.”31

               iv.     Other Anti-VEGF Drugs

       65.     Roche’s Avastin® is the brand name for the anti-VEGF bevacizumab, which is a

tumor-starving agent that is administered by slow injection into a patient’s vein. Avastin is only

FDA-approved for intravenous use for the treatment of certain cancers, including colon cancer,

lung cancer, breast cancer, glioblastoma, and renal-cell carcinoma.32 While some ophthalmologists

use Avastin off-label due to its low-cost, Avastin is not FDA-approved to treat ophthalmic diseases

and is only supplied by Roche/Genentech in vial form. Upon information and belief,




completes-safety-review-and-initiates-update-beovu-prescribing-information-worldwide.
30
        Press Release, Novartis, “U.S. FDA Approves Updated Novartis Beovu® Label. To Include
Additional Safety Information” (June 11, 2020), available at https://www.novartis.com/news/media-
releases/us-fda-approves-updated-novartis-beovu-label-include-additional-safety-
information#:~:text=Basel%2C%20June%2011%2C%202020%20%E2%80%94,and%20retinal%20vasc
ular%20occlusion1.
31
         Press Release, Novartis, “Novartis Completes Safety Review and Initiates Update to the Beovu®
Prescribing Information Worldwide” (Apr. 8, 2020) (emphasis added), available at
https://www.novartis.com/news/novartis-completes-safety-review-and-initiates-update-beovu-
prescribing-information-worldwide.
32
       U.S. Food and Drug Administration, Avastin® (bevacizumab), “Highlights of Prescribing
Information, available at https://www.accessdata.fda.gov/drugsatfda_docs/label/2011/125085s225lbl.pdf.


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Roche/Genentech does not plan to seek FDA approval for Avastin for the treatment of ophthalmic

diseases.

       66.     Since Avastin is FDA-approved only as a cancer agent—and not as an ophthalmic

treatment—Avastin is sold in large vials that are used to prepare an infusion. Unlike LUCENTIS,

and EYLEA, Avastin is not offered in single-dose, ready-made vials or PFS appropriate for the

treatment of ophthalmic diseases. Instead, before Avastin can be used to treat ophthalmic diseases,

it must be “repackaged” by a third party pharmacy—i.e., the repackaging pharmacy must remix or

prepare a single dose of Avastin for eye injection from the larger treatment package that was

intended for intravenous use in cancer patients. This repackaging process has raised concerns

among physicians regarding sterility and dosing accuracy for Avastin. For example, as explained

by a leading specialist in the ophthalmology field:

       Our evaluation showed significant differences in doses of compounded Avastin, as well as
       lower drug levels overall compared to Avastin that came from the manufacturer. This is
       troubling because the prescribed dosing regimen potentially won’t produce the desired
       therapeutic response, or may put a patient’s health at risk.33

       67.     Due to the potential health risks, a significant number of ophthalmologists and

retinal specialists are unwilling to administer Avastin to their patients because they do not want to

take the risk of off-label prescription as well as any potential errors that may have occurred during

the third party repackaging process. Moreover, Avastin has shown to be less effective than EYLEA

and LUCENTIS for the treatment of patients with certain ophthalmic diseases.34



33
         “Study Shows Inconsistent Dosages of Widely Used Eye Disease Drug: Findings Add to Public
Health Debate About Pharmacy Compounding,” Weil Cornell Medicine (Sept. 18, 2014), available at
https://news.weill.cornell.edu/news/2014/09/study-shows-inconsistent-dosages-of-widely-used-eye-
disease-drug-szilard-kiss-donald-damico.
34
        See “Aflibercept, Bevacizumab, or Ranibizumab for Diabetic Macular Edema: Two-year Results
from a Comparative Effectiveness Randomized Clinical Trial,” Ophthalmology (June 2016).


                                                 22
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       68.     Nevertheless, despite potential risks and the inconvenience of using Avastin, some

physicians still choose to administer Avastin off-label because it is significantly cheaper than the

anti-VEGFs for ophthalmic diseases. Avastin is much less expensive than LUCENTIS, BEOVU,

or EYLEA because it is priced and dosed for the cancer treatment for which it is indicated. The

large cancer-appropriate dose of Avastin, when repackaged into small ophthalmic doses, costs

significantly less than anti-VEGFs indicated for ophthalmic diseases.

       69.     Notably, Avastin is also manufactured and sold by Roche. Given that Novartis

owns a 33.3% stake in Roche, any profits from off-label usage of Avastin still flow to Novartis

due to its substantial ownership interest in Roche.

       70.     Macugen (pegaptanib sodium injection) was the first anti-VEGF approved by the

FDA in 2004 to treat wet AMD. While still technically available, newer anti-VEGFs, including

EYLEA and LUCENTIS, have shown to be more effective than Macugen. As a result, Macugen

is rarely prescribed or used for the treatment of wet AMD anymore.

       D.      PFS Are the Preferred Format for Anti-VEGF Treatments

       71.     In order to administer anti-VEGFs supplied in vials to patients, the ophthalmologist

or retinal specialist must perform a sterile, multi-step process at the time of administration. As

illustrated below, EYLEA in vial form comes with multiple components, including the vialed

biologic, two separate needles, and a plastic syringe.35 To administer, the ophthalmologist must

first use the filter needle to withdraw the correct amount of the anti-VEGF from the vial and then

switch to an injection needle before injecting the properly measured dosage into the patient’s eye—

all under sterile conditions.


35
       See “EYLEA Biologics License Application FDA Approval Letter” Department of Health and
Human Services (November 18, 2011), available at https://hcp.eylea.us/mediadb/fda-approval-letter-wet-
amd.pdf.


                                                 23
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       72.     By contrast, an anti-VEGF PFS—like EYLEA PFS pictured below36—is a single,

integrated safety system injection product that comes ready-to-use as soon as the ophthalmologist

opens the box and attaches a needle for injection.




       73.     Thus, administering EYLEA in vial form, by definition, has more touch points, is

more time-consuming, increases the number of steps and thereby the possibility of foreign particles

being introduced into the eye during administration. There has therefore been a general trend in

the pharmaceutical industry away from vials towards prefilled syringes due to multiple advantages

and the overwhelming preference of ophthalmologists. As explained in an article in Retinal

Physician, “Chronic, serial intravitreal injections are most efficiently performed with prefilled



36
       See Regeneron, “About Eylea,” available at https://hcp.eylea.us (last visited July 12, 2020).


                                                   24
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syringes.”37 Anti-VEGF PFS “are a boon to patients requiring this treatment . . . and retinal

physicians because of the decreased endophthalmitis risk, dose accuracy, and improved clinic

efficiency they can provide.”38

       74.     First, administering the anti-VEGF in a PFS enables the required dose to be

delivered more precisely. As a result, only trace amounts of the anti-VEGF remain in the PFS after

injection. In contrast, vials require physicians to overfill the drug to ensure that an accurate dose

is pulled into the syringe each time. One “recent ‘real world’ study evaluated the accuracy and

precision of anti-VEGF volume delivery in the real-world setting [and] demonstrated that the use

of a prefilled syringe was associated with improved anti-VEGF dosing accuracy.”39

       75.     PFS also can enhance patient quality of life and reduce patient time in the clinic.

This is especially important in today’s climate where the vulnerable elderly population—

representing the majority of patients receiving anti-VEGF treatments—is already at an increased

risk for the COVID-19 pandemic. PFS are also more efficient for the administering physician, and

in one study, use of PFS demonstrated a 40% reduction in office preparation time compared to

vials.40 PFS save time and effort for the physician, which quickly adds up in busy ophthalmologist

practices. This also allows the administering physician to treat more patients.

       76.     PFS also reduce the possibility of foreign particles being introduced into the eye

during administration. Repeated intravitreal injections necessarily pose some risk of


37
         Michael Colucciello, M.D., “Prefilled Syringe Delivery of Intravitreal Anti-VEGF Medications:
Advantages for Patients and Physicians,” Retinal Physician (Mar. 1, 2019), available at
https://www.retinalphysician.com/issues/2019/march-2019/prefilled-syringe-delivery-of-intravitreal-anti-
ve#reference-15.
38
       Id.
39
       Id.
40
       Id.


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endophthalmitis for patients. Endophthalmitis is an inflammation of the interior of the eye that can

cause serious complications. PFS help to minimize this risk by reducing the number of steps and

touch points prior to administration.41

       77.     As summarized by Novartis:

       The injection itself carries a risk of complications including infection, inflammation,
       introduction of particles in the eye, and even blindness. To address the problems associated
       with injection of VEGF-antagonists into the eye . . . pre-filled, sterilized syringes . . . permit
       more safe, effective and efficient injections of VEGF-antagonists into the eye.42

       78.     Novartis/Genentech and Regeneron therefore sought to develop and launch PFS

versions of their respective anti-VEGFs for the treatment of certain ophthalmic diseases.

       79.     Following Novartis’s license to Genentech for the ’631 Patent, Novartis/Genentech

developed and obtained FDA approval for LUCENTIS in PFS form in October 2016 and launched

it in the United States in early 2017. As explained in the accompanying press release, “The

LUCENTIS PFS allows physicians to eliminate several steps in the preparation and administration

process, including disinfecting the vial, attaching a filter needle, drawing the medicine from the

vial using the needle, removing the filter needle from the syringe and replacing with an injection

needle.”43 PFS thus provide significant benefits in terms of convenience and ease of use compared

to vials. Indeed, a 2018 study funded by Genentech and conducted on the usability of LUCENTIS

found that medical professionals were able to successfully administer the treatment with 91%

reporting that they found the LUCENTIS PFS “easy” or “very easy” to use.44


41
       Id.
42
        Compl. at 1., Novartis Pharma AG et al. v. Regeneron Pharm. Inc., No. 1:20-cv-00690 (N.D.N.Y.
June 19, 2020) (the “Novartis NDNY Compl.”).
43
         Press Release, Genentech, “FDA Approves Genentech’s Lucentis® (Ranibizumab Injection)
Prefilled Syringe,” (Oct. 14, 2016), available at https://www.gene.com/media/press-releases/14640/2016-
10-14/fda-approves-genentechs-lucentis-ranibiz.
44
       Andrew N. Antoszyk, Carl Baker, Jorge Calzada, et al., Usability of the Ranibizumab 0.5 mg

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       80.     Following the U.S. launch of LUCENTIS PFS in 2017, there was a “strong uptake”

with a “more than 80% conversion rate” from LUCENTIS vials to PFS.45 In fact, Genentech

experienced severe supply shortages following the launch of LUCENTIS PFS due to an increase

in demand for PFS. In early 2018, “LUCENTIS grew at 6% for the quarter driven by volume due

to [the] successful launch of the first prefilled syringe” to treat ophthalmic diseases.46 Roche touted

“increasing market shares in all approved indications” due to LUCENTIS PFS’ “competitive

advantage,”47 stating that it “underestimated the competitive dynamics of the prefilled syringe.”48

Novartis has similarly recognized that “LUCENTIS’ 18% U.S.-based sales ‘growth was driven by

sales of prefilled syringes and sales increases in all approved indications.’”49 Nearly all

LUCENTIS sales today are in PFS rather than vial form.

       81.     Until the recent launch of EYLEA PFS in the United States, LUCENTIS PFS was

effectively the only FDA-approved anti-VEGF for the treatment of certain ophthalmic diseases

available for sale in a PFS.50 LUCENTIS PFS possessed virtually 100% share of the anti-VEGF

PFS market from the time of its 2017 launch until EYLEA PFS was introduced in late 2019. As



Prefilled Syringe: Human Factors Studies to Evaluate Critical Task Completion by Healthcare
Professionals, PDA Journal of Pharmaceutical Science and Technology, 72(4) 411-419 (July 2018),
available at https://journal.pda.org/content/72/4/411.
45
         Roche,   1st    Quarter    Conference    Call      (Apr.     27,    2017),    available     at
https://www.roche.com/investors/agenda/q1-2017.htm.
46
         Roche, First Quarter Sales 2018 Audio Webcast Replay, (Apr. 26, 2018), available at
https://www.roche.com/investors/agenda/q1-2018.htm.
47
       Id.
48
       Id.
49
       ITC Compl. ¶ 73.
50
         While Macugen received FDA approval in 2004 for a prefilled syringe to treat wet AMD only, it
is also an older, less effective treatment that is rarely prescribed anymore, if at all.


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for Novartis’s other anti-VEGF treatment, BEOVU, it is not yet available in the United States in

PFS.

       82.     Regeneron received FDA approval in August 2019 for EYLEA PFS and began

selling it in December 2019 with a full-scale commercial launch in late February 2020. As

explained in Regeneron’s press release, “[t]he sterilized prefilled syringe offers the same medicine

as the currently available EYLEA, in an easier to use and administer presentation.”51 The PFS

“provides physicians with a new way to administer EYLEA that requires fewer preparation steps

compared to vials.”52 That is why the uptake of EYLEA PFS was similar to what happened when

LUCENTIS PFS launched. Within mere months of Regeneron’s commercial launch,

approximately 80% of all EYLEA sales are now in PFS.

       83.     Given the benefits to both physicians and patients for PFS, anti-VEGF PFS have

become the standard treatment for ophthalmic diseases. Physicians have reported that the

availability of PFS is a key driver of competition among anti-VEGFs. Indeed, market data show

that once a PFS launches, physicians rapidly converted their patients from the vial version to the

PFS version at a rate of approximately 80% to 90%. The importance of this delivery method is

further supported by how some sales of the vial form of EYLEA—particularly for new patients—

were being captured by LUCENTIS PFS sales despite EYLEA being regarded by many physicians

and patients as the superior product.

       84.     Recognizing that the playing field for competition among FDA-approved anti-

VEGFs for ophthalmic diseases has changed over from vials to PFS, Novartis and Vetter have


51
        Press Release, Regeneron, “FDA Approves EYLEA (aflibercept) Injection Prefilled Syringe,”
(Aug. 13, 2019) (emphasis added), available at https://newsroom.regeneron.com/news-releases/news-
release-details/fda-approves-eylear-aflibercept-injection-prefilled-syringe.
52
       Id.


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engaged in the anticompetitive behavior described herein to unreasonably restrain competition

for—and the availability of—anti-VEGF PFS treatments.

       E.      Novartis’s History of Anticompetitive Behavior with LUCENTIS

       85.     Novartis has already demonstrated a propensity to engage in anticompetitive

conduct to insulate LUCENTIS from competition. In 2012, Novartis and Roche engaged in an

anticompetitive scheme in Europe related to LUCENTIS, resulting in a €183 million fine (or

approximately $210 million USD) imposed by European antitrust regulators.53

       86.     In 2014, the Italian Competition Authority determined that Novartis and Roche had

unlawfully conspired to increase the use of LUCENTIS by discouraging the off-label use of a

cancer drug that was approximately 40 times cheaper.54 Internal Novartis documents demonstrated

that Novartis had purposely sought to “leverage safety data and regulator” statements to discourage

off-label drug use to prevent the erosion of LUCENTIS sales.55 The Italian Competition Authority

concluded that the two companies improperly cast doubt on the safety of the cheaper, off-label

drug, exaggerating its side effects in order to shift demand to the much more expensive

LUCENTIS.56 As the Italian authorities explained, Novartis benefitted from the increased direct


53
         Press Release, European Commission, “Italy: The Italian Competition Authority Fines Roche and
Novartis for Cartelizing Sales of Two Major Ophthalmic Medicines,” (Feb. 27, 2014), available at
http://ec.europa.eu/competition/ecn/brief/02_2014/it_roche.pdf.
54
         See        Novartis,       2018          Annual          Report,         available           at
https://www.novartis.com/sites/www.novartis.com/files/novartis-annual-report-2018-en.pdf.
55
         European Commission, Report from the Commission to the Council and the European Parliament,
Competition Enforcement in the Pharmaceutical Sector (2009–2017) (Jan. 28, 2019), available at
https://data.consilium.europa.eu/doc/document/ST-6232-2019-INIT/en/pdf.       Novartis also publicly
declared that the Italian Competition Authority’s decision “openly encourage[d] and promote[d] the
widespread unlicensed intravitreal use of Avastin contrary to the requirements of European and Italian
regulatory law” and “undermine[d] the European regulatory framework designed to protect patient safety.”
David Jolly, Italy Fines Novartis and Roche in Collusion Case, N.Y. Times, Mar. 5, 2014, available at
https://nyti.ms/1ibZVoT.
56
       Press Release, European Commission, “Italy: The Italian Competition Authority Fines Roche and

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sales of LUCENTIS in Europe while Roche benefitted indirectly through royalties received by

Genentech through its licensing agreement with Novartis. This misleading and anticompetitive

conduct resulted in $60 million in additional costs to the Italian National Health Service in 2012.

       87.     Novartis and Roche challenged the Italian regulators’ 2014 judgment in an appeal

to the Court of Justice of the European Union. Novartis argued that its agreement with Roche

simply amounted to an exclusive licensing arrangement. The European authorities rejected this

claim: “The arrangement was not designed to restrict the commercial autonomy of the parties to

the licensing agreement regarding LUCENTIS but rather the conduct of third parties – in particular

healthcare professionals – with a view to reducing the prescription of [the off-label drug product]

in ophthalmology for the benefit of LUCENTIS. In those circumstances, the arrangement cannot

be considered to be ancillary and objectively necessary for the implementation of the licensing

agreement.”57 In 2018, the European authorities upheld the Italian Competition Authority’s

findings and €183 million fine (approximately $210 million USD).

       88.     Novartis’s pattern of abusive and anticompetitive conduct also has attracted the

attention of other competition regulators. In 2012, the French Competition Authority initiated an

investigation into anticompetitive practices in the anti-VEGF market for the treatment of wet

AMD. In 2019, the French Competition Authority initiated formal charges by issuing a Statement

of Objections against Novartis alleging anticompetitive practices similar to those alleged by the

Italian Competition Authority. In these formal antitrust charges, the French Competition Authority



Novartis for Cartelizing Sales of Two Major Ophthalmic Medicines,” (Feb. 27, 2014), available at
http://ec.europa.eu/competition/ecn/brief/02_2014/it_roche.pdf.
57
        Press Release No 06/18, Court of Justice of the European Union, “The agreement between the
pharmaceutical groups Roche and Novartis designed to reduce the use of Avastin in ophthalmology and to
increase the use of Lucentis might constitute a restriction of competition ‘by object’” (Jan. 23, 2018),
available at https://curia.europa.eu/jcms/upload/docs/application/pdf/2018-01/cp180006en.pdf.


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alleged that Novartis and Roche engaged in anticompetitive conduct in the French market for anti-

VEGFs for the treatment of wet AMD from 2008 to 2013.58

       89.     Novartis’s history of collusion is illustrative of its intent to insulate LUCENTIS

(and now LUCENTIS PFS) from competition globally, including in the United States. Similar to

the Novartis/Roche scheme in Europe, Novartis’s anticompetitive conduct in the United States has

been designed to prevent Regeneron from launching—and now selling—EYLEA PFS in order to

steer physicians and patients away from alternative anti-VEGF ophthalmic treatments, regardless

of the benefits of those treatments.

       F.      Novartis’s Fraud on the USPTO to Obtain the ’631 Patent

       90.     At the heart of Defendants’ anticompetitive conduct is the ’631 Patent that Novartis

procured through fraud on the USPTO. The ’631 Patent issued on December 29, 2015, and it was

assigned to Novartis AG. In February 2020, ownership of the ’631 Patent was transferred to

Novartis Technology LLC, Novartis Pharmaceuticals Corporation, and Novartis Pharma AG, the

three Novartis Defendants. The ’631 Patent term extends until 2033.

       91.     Independent claim 1 of the ’631 Patent is reproduced below.




58
         See  Novartis,     2018    Annual     Report     at    F-50     –    F-51,    available   at
https://www.novartis.com/sites/www.novartis.com/files/novartis-annual-report-2018-en.pdf.


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                                           ’631 Patent, Claim 1

        92.      The ’631 Patent is unenforceable due to the inequitable conduct of at least

Individual #1,59 a Novartis employee and the lead inventor of the ’631 Patent, and at least

Individual #2 and Individual #3, who were the primary patent practitioners at Novartis responsible

for the prosecution of the application that led to the issuance of the ’631 Patent. Individuals #1,

#2, and #3, who were all subject to a continuing duty to disclose information material to

patentability, deliberately withheld prior art disclosing terminal sterilization of a prefilled syringe

containing a VEGF antagonist, which the individuals knew was material to the patentability of

claims of the ’631 Patent. As detailed below, the claims of the ’631 Patent would not have been

allowed had the examiner conducting the examination of application for the ’631 Patent been

aware of the undisclosed prior art. At least Individuals #1, #2, and #3 knew of the materiality of



59
        We are aware of Signify N. Am. Corp. v. Reggiani Lighting USA, Inc., No. 18-CIV-11098, 2020
WL 1331919 (S.D.N.Y. Mar. 23, 2020), in which a complaint was dismissed for failure to identify the
individuals involved in an inequitable conduct allegation with specificity. However, Regeneron believes
that Novartis is fully aware of the identity of Individuals #1, #2, and #3, and Regeneron chose not to publicly
disclose their names as a matter of professional courtesy. If Novartis intends to seek dismissal of the
complaint based on the failure to identify these individuals with specificity, or if the Court has a question
about the sufficiency of the pleading for this reason, Regeneron respectfully requests the opportunity to
amend its complaint to identify the individuals by name.


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this prior art based on office actions by a different set of examiners during prosecution of a parallel

patent family, but deliberately withheld the information demonstrating unpatentability from the

examiner that was conducting the examination of the application for the ’631 Patent. The single

most reasonable inference that may be drawn from the evidence described below is that the

Individuals #1, #2, and #3 withheld this material prior art with an intent to deceive the USPTO.

       93.     Because patents affect the public interest and patent examinations are conducted ex

parte, the USPTO and courts impose a duty of candor and disclosure upon inventors (such as

Individual #1), patent applicants, and their representatives before the USPTO (e.g., registered

patent attorneys and agents such as Individuals #2 and #3). As part of this duty, the USPTO

requires inventors, patent applicants and their representatives to disclose to the examiner—through

the Information Disclosure Statement (“IDS”)—all “information known to that individual to be

material to patentability.” See 37 C.F.R. § 1.56. This duty of candor includes the duty to

supplement the IDS with any material information or references the inventors, applicants or their

representatives become aware of after the initial filing of the patent application up to and including

the date of issuance of the patent.

                    i. The Prosecution of U.S. Patent Application No. 13/750,352 That
                       Ultimately Issued as the ’631 Patent

       94.     The application for the ’631 Patent (App. No. 13/750,352) (“the ’352 Application”)

was filed on January 25, 2013. The application data sheet was signed by Individual #2, and

Individual #1 also submitted an inventor declaration pursuant to 37 C.F.R. § 1.63. The ’352

Application included one independent claim and thirty-one dependent claims directed to a prefilled

syringe, blister packs comprising a prefilled syringe and a method of treating a patient using the

prefilled syringe. As shown below, originally filed claim 1 was directed to structural aspects of the

prefilled syringe, the fill volume of the syringe, the dosage volume of the VEGF antagonist

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solution, the amount of silicone oil on the syringe barrel, and the number of particles in the VEGF

antagonist solution.




                          ’352 Application, Originally Filed Claim 1

       95.     In a preliminary amendment on August 16, 2013, before any office actions had been

received from the USPTO, claim 1 was amended by deleting most of the structural limitations for

the syringe as shown below (deleted material is stricken and newly added material is underlined).

The preliminary amendment was signed by Individual #2.




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                        ’352 Application, First Amendment to Claim 1

       96.     The ’352 Application was examined by USPTO examiner Aarti Bhatia

Berdichevsky (the “Syringe Examiner”). In a first office action on May 14, 2014, the Syringe

Examiner issued a non-final rejection determining that claim 1 was both anticipated and obvious

in view of a published patent application identified as WO 2007/035621 to Scypinski. In addition,

the Syringe Examiner determined that all of the other pending claims (2-32) were either anticipated

by Scypinski, or obvious in view of Scypinski alone of in view of a second published patent

application, US 2011/0276005 to Hioki.

       97.     On August 13, 2014, the Novartis applicant submitted a response to the non-final

rejection. The response included an amendment to claim 1, as shown below, that amended the

claimed range of silicone oil from “less than about 500 µg” to “from about 1 µg to 500 µg.” No

other changes were made to claim 1. Claims 7, 8, and 11 were cancelled and dependent claims 33

and 34 were added. The response argued that the claims were not anticipated or obvious,

specifically focusing on the silicone oil limitation and arguing that “the applicants have

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surprisingly found that using less silicone actually leads to usable syringes.” The response was

signed by Individual #3.




                       ’352 Application, Second Amendment to Claim 1

       98.     In a second office action dated August 26, 2014, the Syringe Examiner issued a

final rejection of all pending claims. The Syringe Examiner determined that the claims as amended

were obvious in view of the same prior art (Scypinski and Hioki), finding that “[i]t would have

been within the level of ordinary skill in the art to find the optimum value of silicone oil to use,

and to find the optimum amount to achieve the desired slide force and break loose force.” 8/26/14

Office Action at 5.

       99.     On November 24, 2014, the Novartis applicant responded to the final office action

and requested continued examination. Claim 1 was amended again, as shown below, by deleting

the dosage volume limitation, narrowing the limitation for the amount of silicone oil from “1 µg

to 500 µg” to “1 µg to 100 µg,” and adding a limitation for the stopper break loose force. The

response again argued that “the applicants have surprisingly found that using less silicone actually

leads to usable syringes.” The response was signed by Individual #3.




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                        ’352 Application, Third Amendment to Claim 1

       100.    On December 12, 2014, in a third office action, the Syringe Examiner issued a non-

final rejection of all pending claims. The Syringe Examiner maintained that the claims were

obvious based on Scypinski in view of Hioki. The Syringe Examiner also rejected the argument

put forward by Individual #3 and the Novartis applicant that they had “surprisingly” found that

using less silicone actually leads to usable syringes. The Syringe Examiner stated that “it would

be obvious to one having ordinary skill in the art to try and use less silicone, since it is common

sense to use as little as possible to achieve the desired effect.” 12/12/14 Office Action at 5.

       101.    The Novartis applicant submitted a response to the non-final rejection on March

11, 2015. The response again focused on the purported non-obviousness of the silicone oil

limitation. Specifically, the response argued that “it has to be noticed that the cited prior art does

not contain any suggestion whatsoever regarding silicone content of less than 500 µg in the glass

cylinder of pre-filled syringes for ophthalmic use, as it is determined by the claims. The lack of

any suggestion in order to reach this value shows that the current invention is not obvious in view

of the documents cited by the Examiner.” 3/11/15 Response at 7. The response also included

commentary regarding terminal sterilization of syringes, noting that “the prefilled syringe is

terminally sterilized as well, whereby the syringe is typically already located in its package” and

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that “[i]f the pre-filled syringe is not appropriately sealed, significant amounts of [sterilizing] gas

may intrude into the volume chamber of the syringe and have a detrimental effect on the drug.” Id.

at 5. The Novartis applicant made no amendments to the claims in the March 11, 2015 response,

which was signed by Individual #3.

        102.    On March 20, 2015, in a fourth office action, the Syringe Examiner issued a final

rejection as to all pending claims, maintaining the same rejections and arguments as those put

forward in the December 12, 2014 office action. With respect to the discussion of terminal

sterilization in the March 11, 2015 response, the Syringe Examiner explained that terminal

sterilization was not claimed. Specifically, the Syringe Examiner stated that “it is noted that the

features upon which applicant relies (i.e., the prefilled syringe is terminally sterilized) is not recited

in the rejected claim(s).” The Syringe Examiner further expressed that the “prior art meets the

claims as currently presented.” 3/20/15 Office Action at 2-3.

        103.    On July 17, 2015, after the fourth office action, the Novartis applicant again

requested continued examination and submitted a response amending claim 1. As shown below,

the amendment to claim 1 added the limitation “terminally sterilized.” The response stated that

“independent claim 1 now recites that the prefilled syringe is terminally sterilized” and argued that

“a prima facie case of obviousness has not been established.” Thus, after more than two years of

examination focused on the patentability of a syringe with low levels of silicone oil, the Novartis

applicant shifted the focus of patentability to the question of whether terminally sterilized prefilled

syringes were known or obvious in view of the prior art. The July 17, 2015 response was signed

by Individual #4, another attorney at Novartis.




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                       ’352 Application, Fourth Amendment to Claim 1

       104.    On August 19, 2015, the Syringe Examiner relented and issued a notice of

allowance. First, the Syringe Examiner noted that on August 10, 2015, she conducted a telephone

interview with Individual #3 and received authorization from him to make an “examiner’s

amendment” to one of the claims. Second, the Syringe Examiner stated as reasons for allowing the

claims as amended to issue that “the prior art of record fails to disclose either singly or in

combination the claimed device of a prefilled glass syringe…that is prefilled with a VEGF

antagonist and is terminally sterilized as successfully amended and argued by the Applicant”

8/19/15 Notice of Allowance at 2 (emphasis added).

       105.    As explained above, the examination by the Syringe Examiner to that point in time

had been focused on the amount of silicone oil used on a syringe barrel, based on the arguments

advanced by the Novartis applicant and their attorney Individual #3. The Syringe Examiner thus

focused on prior art (Scypinski and Hioki) that demonstrated that those arguments were without

merit. But the Novartis applicant and their attorneys then shifted their strategy and for the first

time, after nearly 15 months of futile argument with the Syringe Examiner, introduced the issue of

whether the prior art discloses terminal sterilization of a prefilled syringe. However, as detailed

below, at least Individuals #1, #2, and #3 knew of prior art and other determinations by the USPTO

regarding the obviousness of terminally sterilizing a prefilled syringe containing an anti-VEGF,

and deliberately withheld with an intent to deceive that prior art and other determinations by the

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USPTO regarding terminal sterilization from the Syringe Examiner. The Syringe Examiner would

not have allowed the claims of the ’631 Patent if the Syringe Examiner had been aware of the

undisclosed prior art and the USPTO’s other determinations regarding the obviousness of

terminally sterilizing a prefilled syringe containing an anti-VEGF.

               ii.    The Overlapping Examination of U.S. Patent Application No. 13/382,380
                      Relating to Terminal Sterilization of a Prefilled Syringe

       106.    The examination of the application for the ’631 Patent overlapped with the

prosecution of another Novartis application—U.S. Patent Application No. 13/382,380 (the “’380

Application”) that, as shown in the excerpts below, was directed to terminally sterilizing a

prefilled syringe containing a biological drug product, and specifically, ranibizumab (the active

ingredient in LUCENTIS), an anti-VEGF:

       ’380 Application, Specification at p. 1
       “This invention relates to a method and system for terminal sterilization of the outer
       surface and/or surface decontamination of prefilled containers in secondary
       packaging, wherein the prefilled container contains a pharmaceutical or biological
       drug product.”

       ’380 Application, Specification at p. 2
       “Terminal sterilization of prefilled containers in secondary packaging is one way
       to provide the device to an end user with a low bio-burden and low risk of
       contaminants, for safe application of the product by the end user. Moreover, there
       is a strong market need for terminally antimicrobially-treated medical devices, such
       as prefilled syringes used for intravitreal injections.”

       ’380 Application, Specification at p. 3
       “Described herein is a terminal sterilization and surface decontamination treatment
       of prefilled containers, specifically for sterilization of prefilled containers
       containing sensitive solutions, such as a drug product or biologic therapeutic,
       within secondary packaging. In one embodiment, terminal sterilization is achieved
       by treating prefilled containers within secondary packaging with controllable
       vaporized-hydrogen peroxide (VHP).”

       ’380 Application, Specification at 9
       “In one particular embodiment, the drug product is a protein solution, such as
       ranibizumab (e.g., 6 mg/ml or 10 mg/ml) solution for intravitreal injection.”



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       107.    Individual #1, the first named inventor of the ’631 Patent, is the sole named inventor

of the subject matter set forth in the ’380 Application. Individuals #2 and #3, two practitioners

who prosecuted the application that became the ’631 Patent, were the very same practitioners

prosecuting the ’380 Application. The ’380 Application is a U.S. application related to

International Application No. PCT/EP2010/060011. Specifically, the ʼ380 Application and

International Application No. PCT/EP2010/060011 both claim priority to patent application

09165456.6 filed in the European Patent Office. The ʼ380 Application and International

Application No. PCT/EP2010/060011 contain materially identical disclosures. International

Application No. PCT/EP2010/060011 was published as WO 2011/006877 (“WO ’877”) on

January 20, 2011, which is one and a half years before the filing date of the earliest priority

application of the ’631 Patent. Accordingly, WO ’877, which includes the same disclosure as the

’380 Application of a terminally sterilized prefilled syringe containing an anti-VEGF, is prior art

to the ’631 Patent under pre-AIA 35 U.S.C. § 102(b) (“[T]he invention was patented or described

in a printed publication in…a foreign country…more than one year prior to the date of the

application for the patent in the United States.”).

       108.    The ’380 Application was filed on January 5, 2012 and the examination was

conducted by different USPTO examiners (Donald Spamer, Gordon R. Baldwin and Sean E.

Conley; collectively, the “Sterilization Examiners”) than the application for the ’631 Patent. The

Sterilization Examiners were part of Art Unit 1775, which is directed to chemical compositions,

whereas the Syringe Examiner was part of Art Unit 3763, which is directed to surgical devices.

And unlike the examination of the application for the ʼ631 Patent, the examination of the ’380

Application was entirely focused on the issue of whether terminal sterilization of a prefilled

syringe containing an anti-VEGF would have been obvious. As detailed below, over the course of



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five office actions between January 2013 and April 2014, the Sterilization Examiners repeatedly

and consistently found that terminal sterilization of a prefilled syringe for intravitreal injection

containing an anti-VEGF was obvious in view of certain prior art.

        109.   In a first office action on September 14, 2012, the Sterilization Examiners issued a

non-final rejection determining that the terminal sterilization subject matter being sought by the

Novartis applicant in the ’380 Application was anticipated by U.S. 2003/0003014 (“Metzner”),

published on January 2, 2003, and obvious based on Metzner in view of U.S. 6,228,324

(“Hasegawa”), patented on May 8, 2001. The Sterilization Examiners made numerous findings to

support the rejection, including that “Metzner et al. teaches a method for surface decontamination

of a prefilled container in secondary packaging…the use of vaporized hydrogen peroxide in order

to sterilize the surfaces of the packaging…that the hydrogen peroxide is left in contact with the

surfaces for a sufficient amount of time to achieve decontamination…[and] also teaches the use of

post-decontamination measures of applying a vacuum…[which] would remove the hydrogen

peroxide as evidence by Hasegawa et al.” 9/15/12 Office Action at 2-3. The Sterilization

Examiners further found that “Metzner et al. teaches that this method can be done on temperature

sensitive pharmaceutical products…that the protein drug product is in a carpule…[which] is a

container for medicine that is administered to the patient with a syringe” and that “[a] person

having ordinary skill in the art at the time of the invention would understand that if this method is

capable of sterilizing prefilled protein drug products in secondary packaging without causing

degradation of the proteins that the method is capable of treating the specific protein ranibizumab.”

Id. at 3.

        110.   The Novartis applicant submitted a response on December 12, 2012. The response

included an amendment to the proposed independent claim, withdrew a number of claims, and



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contested the Sterilization Examiners’ determinations of anticipation and obviousness. The

response was signed by Individual #2.

       111.    In a second office action on January 3, 2013, the Sterilization Examiners issued a

final rejection. In this final rejection, the Sterilization Examiners maintained the obviousness of

the terminal sterilization subject matter in view of Metzner and Hasegawa, further in view of U.S.

Patent 5,788,941 to Dalmasso. For example, the Sterilization Examiners noted that “the

combination of Metzner et al. and Hasegawa et al. teaches that the hydrogen peroxide vapor

sterilization method can be used for sterilizing prefilled syringes in secondary packaging where

the prefilled drug product is various proteins.” 1/13/13 Office Action at 6.

       112.    The Novartis applicant submitted a response to the second office action on May 3,

2013 and requested continued examination. The Novartis applicant again contested the

Sterilization Examiners determination of obviousness, this time submitting a declaration from

Individual #1. In that declaration, Individual #1 stated that “the Examiner’s conclusion with regard

to Metzner is incorrect” and that “[t]he method taught by Metzner would likely result in

denaturation of the protein in the syringe, or a non-sterile pre-filled syringe, or both.” 5/3/13

Individual #1 Declaration at ⁋ 7. Individual #1 further stated that “[t]he present application

disclosed for the first time, and contrary to conventional thinking, that it is possible to obtain

sufficient sterilization of the outer surface of a syringe in secondary packaging at ambient

pressure.” Id. at ⁋ 9. The May 3, 2013 response was signed by Individual #2.

       113.    In a third office action on June 14, 2013, the Sterilization Examiners issued a non-

final rejection. The Sterilization Examiners considered Individual #1’s declaration and concluded

that “the Affiant merely makes conjectures that the combination of Metzner and Hasegawa (using

the method of Metzner to sterilize a drug filled syringe in secondary packaging) would be



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deleterious through statements such as ‘would likely result in denaturation’ and ‘may not result in

a sterile product.’ The Affiant has not provided any factual evidence or proof of these conjectures.”

6/14/13 Office Action at 2. The Sterilization Examiners found that “Metzner does in fact recognize

these possibilities and teaches that if movement of a plunger or leaking seel [sic] is a concern to

ensure appropriate packaging or using a device to prevent displacement of the stoppers or plunger

seals.” Id. The Sterilization Examiners maintained the obviousness of terminally sterilizing a

prefilled syringe containing an anti-VEGF in view of Metzner and Hasegawa.

        114.    The Novartis applicant responded to the third office action on January 14, 2014.

The applicant continued to argue that the terminal sterilization subject matter was not obvious in

view of Metzner and Hasegawa. The response was signed by Individual #3.

        115.    In a fourth office action on February 7, 2014, the Sterilization Examiners issued a

final rejection. The Sterilization Examiners considered the new arguments from the January 14,

2014 response, and maintained that the terminal sterilization subject matter was obvious in view

of Metzner and Hasegawa.

        116.    The Novartis applicant responded to the fourth office action on March 13, 2014.

The applicant amended the claims to require that the prefilled syringe surface is decontaminated

“to a sterility assurance level of at least 10-6” and argued again that the terminal sterilization subject

matter was not obvious in view of Metzner and Hasegawa. The March 13, 2014 response was

signed by Individual #3.

        117.    In a fifth office action on April 2, 2014, the Sterilization Examiners issued a non-

final rejection. The Sterilization Examiners detailed a rejection based on Metzner in view of

Hasegawa and U.S. Patent No. 5,037,623 (“Schneider”). The Sterilization Examiners explained

that Metzner “is not in contact with the prefilled syringe long enough to cause a sterility assurance



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level of 10-6 (a common standard for sterility) but that the subject matter was still obvious because

“[a] person of ordinary skill in the art at the time of the invention would have found it obvious to

have achieved a sterility assurance level of at least 10-6 in order to have a properly and effectively

sterilized medical device (prefilled syringe).” 4/2/14 Office Action at 2, 4. Thus, the Sterilization

Examiners maintained that the terminal sterilization subject matter was obvious and not patentable.

       118.    The Novartis applicant did not respond to the fifth office action. On November 6,

2014, the Sterilization Examiners issued a Notice of Abandonment based on the failure of the

Novartis applicant to timely reply to the fifth office action.

       119.    Individuals #1, #2, and #3, unable to convince the Sterilization Examiners that the

terminal sterilization of a prefilled syringe was non-obvious, pivoted their strategy to the Syringe

Examiner, who unlike the Sterilization Examiners, was not in an Art Unit directed to chemical

compositions, and accordingly was not familiar with the prior art regarding terminal sterilization.

The application that led to the ’631 Patent, which the Syringe Examiner was examining, was

amended to include the limitation “terminally sterilized” on August 9, 2015, which is after

Individual #1, Individual #2, and Individual #3 had received each of the five office actions from

the Sterilization Examiners in the ’380 Application rejecting terminal sterilization of a prefilled

syringe as being obvious in view of at least Metzner and Hasegawa. It was also after Individual

#1, Individual #2, and Individual #3 had conceded the obviousness of terminally sterilizing a

prefilled syringe containing an anti-VEGF to the Sterilization Examiners by abandoning the ’380

Application.

               iii.    The Novartis Applicants and Their Representatives Committed Fraud By
                       Deliberately Withholding Material Prior Art From the Syringe Examiner
       120.    At least Individual #1 and his representatives Individual #2 and Individual #3

deliberately withheld at least the following material information from the Syringe Examiner: (1)


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WO ’877; (2) Metzner; (3) Hasegawa; and (4) the five office actions from the Sterilization

Examiners during the prosecution of the ’380 Application concluding that it was obvious to

terminally sterilize a prefilled syringe containing an anti-VEGF, such as ranibizumab.

       121.    WO ’877 is material prior art because the Syringe Examiner would not have

allowed any of the claims of the ’631 Patent if she had been aware of WO ’877. The Syringe

Examiner had already determined over the course of four office actions that the prefilled syringe

set forth in the claim reproduced below was obvious and not allowable:




        ’352 Application, Claimed Rejected in the Fourth Office Action on 3/20/2015

On July 17, 2015, the applicant amended the above claim to add only the limitation that the

prefilled syringe is “terminally sterilized,” but did not inform the Syringe Examiner about the

existence of WO ’877, which is prior art and clearly discloses terminal sterilization of a prefilled

syringe containing an anti-VEGF for intravitreal injection. See WO ’877 at 3:8-11 (“Described

herein is a terminal sterilization and surface decontamination treatment of prefilled containers,

specifically for sterilization of prefilled containers containing sensitive solutions, such as drug

product or biological therapeutics, within secondary packaging.”), 9:11-14 (“In one particular

embodiment, the drug product is a protein solution, such as ranibizumab (e.g., 6 mg/ml or 10

mg/ml) solution for intravitreal injection.”), 20:11-16 (“In the following experiment, prefilled

syringes were treated with a vaporized-hydrogen peroxide sterilization treatment in a

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chamber…Syringes containing protein solutions treated by VHP were compared to control

syringes treated with VHP”).

        122.    WO ’877 also discloses limitations set forth in the dependent claims of the ’631

Patent: dependent claim 8, which requires “the anti-VEGF antibody is ranibizumab”; dependent

claim 9, which requires “the ranibizumab is at a concentration of 10 mg/ml”; dependent claims 17-

21, which require “[a] blister pack comprising a prefilled syringe…wherein the syringe has been

sterilised using H2O2 or EtO…the outer surface of the syringe has ≤ 1 ppm EtO or H2O2

residue…the total EtO or H2O2 residue found on the outside of the syringe and inside of the blister

pack is ≤ 0.1mg…wherein ≤5% of the VEFG antagonist is alkylated…wherein the syringe has

been sterilised using EtO or H2O2 with a Sterility Assurance Level of at least 10-6.” See WO ’877

at 9:11-14 (“In one embodiment, the drug product is a protein solution, such as ranibizumab (e.g.,

6 mg/ml or 10 mg/ml) solution for intravitreal injection.”), 10:3-5 (“In one terminal sterilization

and surface decontamination of prefilled containers within secondary packaging is carried out by

treating surfaces of the prefilled container within secondary packaging with vaporized-hydrogen

peroxide”), 9:24-26 (“Suitable secondary packaging includes…blister packs”), 7:10-11 (“required

[sterility assurance levels] for health care products are defined to be at least 10-6”).

        123.    At least Individual #1, who is the named inventor of WO ’877, and Individuals #2

and #3, who were knowledgeable about WO ’877 due to their direct involvement in the prosecution

of the ’380 Application, knew that WO ’877 was material to patentability of any claims relating to

terminally sterilizing a prefilled syringe containing a drug product for intravitreal injection, and

any claims relating to sterilization using hydrogen peroxide.

        124.    Metzner and Hasegawa are material prior art because the Syringe Examiner would

not have allowed any of the claims of the ’631 Patent if she had been aware of Metzner and



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Hasegawa and the bases on which the Sterilization Examiners repeatedly rejected the ’380

Application. The materiality of Metzner and Hasegawa was detailed in five office actions by the

Sterilization Examiners, including the fifth office action to which the Novartis applicant did not

respond. As explained by the Sterilization Examiners, “Hasegawa et al. teaches a method of

sterilizing a prefilled syringe (medicine filled injector) in secondary packaging…applying

vaporized hydrogen peroxide to the surface of the prefilled syringe in secondary packaging and

allowing the hydrogen peroxide vapor to remain in contact with the prefilled syringe surface for

sufficient time to sterilize the syringe surface (abstract, column 8, lines 38-47, and column 12,

lines 13-19).” (’380 Application, fifth office action on April 2, 2014 at 3.) The Sterilization

Examiners further explained that the combination of Hasegawa and Metzner “teaches a method of

using hydrogen peroxide vapor for sterilizing different proteins in secondary packaging (para

[0061]) at 30°C (para [0063]) and teaches that the treatment did not destroy the protein products

(para [0076])” and that “[a] person having ordinary skill in the art at the time of the invention

would understand that if this method is capable of sterilizing prefilled protein drug products in

secondary packaging without causing degradation of the proteins that the method is capable of

treating the specific protein ranibizumab.” (’380 Application, fifth office action on April 2, 2014

at 5.) Accordingly, Metzner and Hasegawa were material to the terminal sterilization limitation of

claim 1 of the ’631 Patent, as well as the sterilization limitations of dependent claims 17-21 of the

’631 Patent.

       125.    At least Individuals #1, #2, and #3, who were knowledgeable about Metzner and

Hasegawa and the five office actions by the Sterilization Examiners, knew that Metzner and

Hasegawa were material to the patentability of any claims relating to terminally sterilizing a




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prefilled syringe containing a drug product, and any claims relating to sterilization using hydrogen

peroxide.

        126.     Individuals #1, #2, and #3 deliberately withheld WO ’877, Metzner, Hasegawa, and

the five office actions by the Sterilization Examiners from the seven information disclosure

statements submitted between January 25, 2013 and March 11, 2015 in the application for the ’631

Patent. All of these information disclosure statements were submitted after the initial office action

rejecting the claims of the ’380 Application in view of Metzner and Hasegawa, and while there

were dependent claims in the application for the ’631 Patent reciting hydrogen peroxide

sterilization.

        127.     Furthermore, eight months after abandoning the ’380 Application, having failed in

their multi-year effort to convince the Sterilization Examiners of the patentability of a terminally

sterilized prefilled syringe for a protein drug product and also having failed for years to convince

the Syringe Examiner of the patentability of claims directed towards a syringe barrel having low

amounts of silicone oil in the application for the ’631 Patent, Individuals #1, #2, and #3 pivoted

their strategy. Specifically, the claims in the application for the ’631 Patent were amended on July

17, 2015 to include the requirement for a “terminally sterilized” prefilled syringe. But in doing so,

Individuals #1, #2, and #3 made another deliberate decision not to disclose the very subject matter,

i.e., WO ’877, Metzner, Hasegawa, and the office actions by the Sterilization Examiners, that

they knew demonstrated the amended claims of the ’631 Patent were not patentable.

        128.     Individuals #1, #2, and #3 knew when claim 1 of the ’631 Patent was amended

adding the words “terminally sterilized” that the previous two and a half years of examination by

the Syringe Examiner had been focused on prior art disclosing the obviousness of using a low

amount of silicone oil. They also knew that they had a continuing duty to disclose material



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information. That duty required them to update the information presented to the Syringe Examiner

to include information material to the patentability of the newly amended claim 1 including the

“terminally sterilized” limitation that was added in the July 17, 2015 amendment. Notably, the

applicant submitted an information disclosure statement concurrent with the amendment for the

’631 Patent on July 17, 2015, and another information disclosure statement on November 17, 2015,

identifying new information for the Syringe Examiner to consider, but none of the references

submitted in the two new information disclosure statements were prior art describing terminal

sterilization of a prefilled syringe, prior art that they were well aware of from the prosecution of

the ’380 Application. Instead, the applicant continued to submit prior art regarding siliconization

of syringes, while withholding material prior art – WO ʼ877, Metzner and Hasegawa – disclosing

terminal sterilization of prefilled syringes. For example, the July 17, 2015, information disclosure

statement included the following non-patent literature citations regarding siliconization:




      Excerpt from ’352 Application, July 17, 2015 Information Disclosure Statement

Indeed, WO ʼ877, Metzner and Hasegawa were not cumulative of any of the art disclosed

throughout prosecution. Thus, although Individuals #1, #2, and #3 knew that they had a continued

duty to submit information to the Syringe Examiner, and knew that terminal sterilization was of

particular relevance given the addition of that limitation to claim 1, they failed to submit the

material prior art regarding terminal sterilization of a prefilled syringe that they knew of from the

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prosecution of the ’380 Application—i.e., WO ’877, Metzner, Hasegawa, and the five office

actions by the Sterilization Examiners.

          129.   Therefore, at the time of the July 17, 2015 amendment in the application resulting

in the ’631 Patent, and the Syringe Examiner’s August 19, 2015 notice of allowance, at least

Individuals #1, #2, and #3 knew of and deliberately withheld: (i) WO ’877; (ii) Metzner; (iii)

Hasegawa; (iv) the five office actions by the Sterilization Examiners regarding obviousness of

terminally sterilizing a prefilled syringe containing an anti-VEGF; and (v) their own admission

of obviousness of that subject matter based on the failure to respond to the fifth office action in

the ’380 Application and the resulting abandonment of the ’380 Application. The single most

reasonable inference that may be drawn from this evidence is that at least Individuals #1, #2, and

#3 made a deliberate choice to deceive the USPTO by withholding the prior art that they knew

disclosed terminal sterilization and was highly material to the pending claims in the application

leading to the ’631 Patent. The deception was successful, and the Syringe Examiner, not

knowing that terminal sterilization of a prefilled syringe containing an anti-VEGF was fully

disclosed and obvious in view of the prior art, allowed the application which issued as the ’631

Patent.

          130.   Upon information and belief, Individuals #1, #2, and #3 were motivated to deceive

the USPTO in order for their employer Novartis to maintain or establish dominance in the market

for prefilled syringes containing VEGF antagonist. Indeed, Novartis had repeatedly threatened to

enforce the fraudulently procured ’631 Patent against Regeneron and demanded that Regeneron

take a license to the application before the ’631 Patent even issued, thereby attempting to delay

and deter Regeneron’s EYLEA PFS launch and forcing Regeneron to incur additional costs to

defend against these unenforceable patent claims. Following the EYLEA PFS launch in late 2019,



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Novartis filed suit against Regeneron on June 19, 2020, alleging that EYLEA PFS infringes the

fraudulently procured and unenforceable claims of the ’631 Patent.

       G.      Novartis’s and Vetter’s Overarching Conspiracy to Unreasonably Restrain
               Competition in the Anti-VEGF PFS Market

       131.    Novartis and Vetter have used their supposed ownership dispute over the

fraudulently procured ’631 Patent to enter into a “settlement” that was, in effect, an anticompetitive

agreement designed to control—and limit—the supply of anti-VEGF PFS treatments for

ophthalmic diseases in the United States. As part of this overarching conspiracy, Novartis and

Vetter have tried to frustrate and delay Regeneron’s entry into the U.S. anti-VEGF PFS market

and to artificially raise Regeneron’s costs so as to ensure that Novartis’s LUCENTIS PFS (and

eventually BEOVU PFS) effectively remain the only FDA-approved anti-VEGF PFS in the

market.

                i.     Regeneron/Vetter Collaboration on the EYLEA PFS

       132.    Vetter is one of a small number of “fillers” with the assets, capabilities, and scale

to fill syringes with complex biologic drug products like EYLEA under the required sterile

conditions. Commercializing these PFS has unique challenges and requirements involving, among

other things, regulatory approvals and the need for specialized equipment and filling lines

possessed by a very limited number of firms. Vetter is a leading global supplier in this field,

including for the United States. The United States is a significant market for Vetter, and its market

strategy is directly aimed at ensuring success in the United States. According to Vetter, “[a]round

90 percent of [their] prefilled drug-delivery systems,” which include PFS, “are sold abroad.

Vetter’s major customers are in the USA where they constitute a market share of more than 50

percent [sic].”60 Indeed, upon information and belief, Vetter is the exclusive filler of LUCENTIS


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       Interview, “Vetter – A World Market Leader,” Healthcare Industry BW (Oct. 14, 2011), available

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PFS and Vetter will be the filler for Novartis’s BEOVU PFS as well if the FDA approves it. Due

to its experience and capabilities, Vetter is a uniquely important filler for anti-VEGFs, especially

for PFS used to treat certain ophthalmic diseases.

        133.    Regeneron and Vetter have a long-standing relationship that well predates Novartis

filing for the application that became the ’631 Patent. Vetter is a long-term filler for EYLEA vials

on a non-exclusive basis. And, significantly, starting in 2005, Regeneron and Vetter collaborated

to commercialize an EYLEA PFS. During the course of their collaboration, Vetter filled its first

EYLEA PFS for Regeneron in 2007 and thereafter continued to fill EYLEA PFS for Regeneron’s

use in various clinical trials and for other testing purposes. Vetter also worked with Regeneron to

develop an EYLEA PFS for the Australian market, and an EYLEA PFS was approved by the

Australian Therapeutic Goods Administration at least by March 7, 2012—all prior to Novartis

filing its application for the ’631 Patent.

                ii.     Novartis/Vetter’s Anticompetitive Agreement and Vetter’s Abrupt Change
                        in Demands to Regeneron

        134.    Notwithstanding Vetter’s collaboration with Regeneron to commercialize an

EYLEA PFS, and unknown to Regeneron, Vetter and Novartis were vying for ownership to the

application underlying the ’631 Patent. Vetter and Novartis ultimately settled by entering into an

arrangement in 2013. But this was no ordinary settlement of a patent dispute. Instead, Novartis’s

and Vetter’s “settlement” was a pretext for an unlawful conspiracy to control the supply of, and

thus restrain competition for, anti-VEGF PFS treatments in the United States. Novartis ultimately

used the process to obtain control and influence over Vetter’s PFS filling services so that it could

inhibit its rivals in the anti-VEGF PFS market—like Regeneron.


at          https://www.gesundheitsindustrie-bw.de/en/article/news/vetter-a-world-market-leader-we-put-
ourselves-in-our-clients-shoes.


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       135.    Upon information and belief, Novartis provided Vetter with a “co-exclusive”

license to its fraudulently procured ’631 Patent in exchange for Novartis extracting a lucrative

financial stake in Vetter’s PFS filling services. This anticompetitive agreement co-opted Vetter,

allowing Novartis to exert influence over Vetter’s current and future PFS customer relationships.

Novartis was assured that any of Vetter’s existing customers—notably Regeneron—would be

required to immediately take a sublicense to the pending application for the ʼ631 Patent with

conditions that were highly favorable to Novartis: (1) a long-term, exclusive supply relationship

with the firm that fills LUCENTIS PFS; and (2) a commitment never to challenge Novartis’s ʼ631

Patent if and when it issued. Vetter was induced to enter into this agreement because Novartis

offered, at a minimum, the potential that customers like Regeneron would be forced into long-

term, exclusive contracts with Vetter for PFS filling services under the threat of an infringement

suit by Novartis. In short, Novartis stood to benefit from the conspiracy by controlling the entire

U.S. anti-VEGF PFS market while Vetter stood to benefit by becoming the sole filler for the U.S.

anti-VEGF PFS market.

       136.    Following its agreement with Novartis, Vetter abruptly reversed course in late

2013 and started implementing Novartis’s plan to limit competition. Despite having collaborated

with Regeneron to commercialize EYLEA PFS for approximately eight years, Vetter contacted

Regeneron, claiming that Novartis had a pending patent application covering EYLEA PFS and

demanding that Regeneron now take a license to the yet to be issued patent to continue

development. In October 2013, Vetter sent a sublicense demand to Regeneron for the application

that would eventually become Novartis’s ’631 Patent, referencing the agreement between Novartis

and Vetter relating to Vetter’s existing customers.

       137.    Vetter’s demand to Regeneron was alarming not only because it represented an



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about-face by Vetter, but also because it tried to impose radical and onerous terms on Regeneron.

First, Vetter suddenly demanded that Regeneron use Vetter as the exclusive EYLEA PFS filler

for nearly 20 years. This demand not only represented a complete departure from its collaboration

with Regeneron on the EYLEA PFS, but it also was in stark contrast to Vetter’s commercial

relationship with Regeneron for EYLEA vials. Vetter has filled, and continues to fill, EYLEA vials

without exclusivity—much less a demand for 20 years of exclusivity. Given that Vetter is a leading

PFS filler and Regeneron had few options, it was important for Regeneron to continue working

with Vetter on the EYLEA PFS that was already underway for approximately eight years. But

Regeneron could not tolerate being locked into a 20-year exclusive filler arrangement that would

only constrain the ability of EYLEA PFS to compete against Novartis’s products.

       138.    Given Vetter’s agreement and relationship with Novartis, Vetter’s loyalty is

divided at best. Vetter is the exclusive PFS filler for LUCENTIS, and upon information and belief,

Vetter also will be the exclusive PFS filler for BEOVU. Vetter will be responsible for filling both

anti-VEGF products connected to Novartis. And had Regeneron agreed to Vetter’s demand for an

exclusive, long-term contract, then Vetter and Novartis would have controlled the supply of every

single anti-VEGF PFS globally for the treatment of certain ophthalmic diseases. Vetter only has

finite resources and capacity, and Regeneron was concerned that Novartis’s PFS products would

take priority over EYLEA PFS given their underlying conspiracy. Limiting the supply of EYLEA

PFS would artificially inflate sales of LUCENTIS PFS (and later BEOVU PFS), all to the benefit

of Novartis. Tellingly, Vetter refused to provide any assurances whatsoever that it could meet

Regeneron’s projected EYLEA PFS demand or to allow Regeneron to use alternative PFS filling

services in the event that Vetter was capacity-constrained. Regeneron had every reason to be

concerned that Novartis and Vetter would use this forced exclusivity to strangle EYLEA PFS.



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        139.    Regeneron’s concerns about exclusivity were only exacerbated by Vetter’s quality

control issues. Regeneron’s work with Vetter revealed another concern about committing to a

long-term, exclusive filling arrangement. While collaborating with Vetter on the EYLEA PFS,

Regeneron had conducted various testing and clinical trials on numerous batches filled by Vetter.

In 2013, Regeneron identified some quality and performance issues with Vetter’s PFS batches.

Regeneron voiced these concerns to Vetter about the filling lines. With Vetter in league with

Novartis, Regeneron had legitimate concerns that Vetter would not address these or future quality

issues expeditiously, if at all.

        140.    Separate and apart from the demand for 20 years of exclusivity, Vetter’s sublicense

contained an unlawful “no-challenge” clause mandating that Regeneron never challenge the

validity of Novartis’s fraudulently procured ’631 Patent. The offer explicitly stated that the

sublicense would immediately terminate if Regeneron—or any customer—ever “challenge[d], or

intentionally assist[ed] any third party in challenging, the validity of any rights” for Novartis’s

’631 Patent. Regeneron could not, and would not, accept this no-challenge provision in view of its

own work in developing an EYLEA PFS, as well as the extensive prior art in the space showing

that the PFS that Novartis purported to claim was not patentable. Vetter and Novartis refused to

provide Regeneron with a sublicense on any other terms.

        141.    These demands to Regeneron were just one facet of the overarching conspiracy

between Novartis and Vetter expressly aimed at controlling the total supply of all anti-VEGF PFS

treatments for certain ophthalmic diseases. They had jointly agreed to leverage Novartis’s

fraudulently procured ’631 Patent to try to coerce Regeneron—and any future competitors—into

long-term exclusive PFS filling relationships on the threat of a bogus patent infringement lawsuit.




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               iii.    Novartis/Vetter’s Concerted Denial of Access to PFS Filling Services

       142.    After several rounds of negotiations with Vetter over the sublicense and attempts

to find a middle ground on the onerous terms that Vetter had now tied to continuing its work on

EYLEA PFS, it became clear to Regeneron that Vetter—operating at the behest of Novartis—was

forcing Regeneron to make a Hobson’s choice:

       (A)     Accede to Novartis’s and Vetter’s demand that Vetter be the exclusive EYLEA PFS

               filler for nearly 20 years—accepting the supply, capacity, and quality risks that had

               raised concerns—and never challenge Novartis’s fraudulently procured ’631 Patent

               in exchange for a sublicense; or

       (B)     Lose the option of using Vetter (a leading PFS filler with unique capabilities, a pre-

               existing collaboration, and development history spanning approximately eight

               years) as Regeneron’s PFS supplier altogether, accept the resulting delay in

               launching EYLEA PFS, and likely face a bogus patent infringement lawsuit from

               Novartis seeking to block Regeneron from selling EYLEA PFS in the United States.

       143.    Given that Vetter and Novartis conditioned a sublicense to the ‘631 Patent on a

long-term exclusive deal with Vetter and an unlawful “no-challenge” clause, it is reasonable to

infer that Novartis viewed the onerous terms that Vetter demanded from Regeneron (or the

alternative, a severance of the Vetter/Regeneron relationship) as providing significant economic

value. With Vetter’s and Novartis’s interests joined by the ʼ631 Patent, locking Regeneron into a

long-term contract with its co-conspirator would allow Novartis to control the supply of effectively

all FDA-approved anti-VEGF PFS treatments for ophthalmic diseases. Novartis also would benefit

from the limited supply, and thus limited availability, of EYLEA PFS. And given the unlawful “no

challenge” clause in the sublicense, the practical effect was to ensure that Regeneron could not use



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an alternative PFS filler for EYLEA PFS under any circumstances or face a bogus patent

infringement lawsuit from Novartis. Vetter, for its part, stood to benefit economically had

Regeneron been willing to submit to its demand for a long-term, exclusive supply arrangement.

       144.   Regeneron had no choice but to refuse Novartis’s and Vetter’s unlawful demands

because Regeneron knew that the exclusive Vetter arrangement would ultimately compromise the

competitiveness of EYLEA PFS. Regeneron rejected what was essentially an all-or-nothing offer

from Vetter, even though it knew that doing so would delay the launch of EYLEA PFS and cost

Regeneron millions of dollars in unnecessary costs.

       145.   In retaliation, Novartis and Vetter punished Regeneron. Unable to control the

supply of EYLEA PFS through Vetter, they jointly agreed to cut off Regeneron entirely.

Defendants denied Regeneron access to any of Vetter’s PFS filling services for EYLEA. Upon

information and belief, Vetter and Novartis knew that it would be difficult, expensive, and time-

consuming for Regeneron to find, switch to, qualify, and ramp up for commercialization with an

alternative filling and supply chain for EYLEA PFS—especially once Vetter stopped providing

any filling. That is precisely what happened. Having refused to become a pawn in Novartis’s and

Vetter’s anticompetitive scheme, Regeneron was forced to invest significant time, money, and

effort to establish a new, reliable supply chain for EYLEA PFS. Regeneron had to find another

potential PFS filler, modify the filler’s equipment, perform qualification testing, and conduct a

validation process just to get the PFS filling process up and running on a consistent and quality

basis. Regeneron then had to obtain FDA approval for this new version of EYLEA PFS, including

the underlying components and specific supply chain. All of these additional steps ultimately

delayed Regeneron’s EYLEA PFS launch by years.




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        146.   In late 2017, Regeneron had renewed discussions with Vetter regarding the ’631

Patent. Vetter once again sent the Novartis sublicense offer that was provided in 2013, reaffirming

its earlier demand. Regeneron could only receive a sublicense to Novartis’s ’631 Patent if it

accepted Vetter’s exclusive supply terms. But as explained above, such an unlawful exclusive

agreement with Vetter would constrain supply of anti-VEGF PFS treatments—specifically

Regeneron’s EYLEA PFS—resulting in reduced quality, reduced innovation, and reduced choice

for U.S. patients. Regeneron had no choice but to refuse this offer again in 2017.

        147.   Regeneron’s legitimate business concerns with a long-term, exclusive contract with

Vetter for EYLEA PFS appear to have been borne out in Europe by the delayed launch of EYLEA

PFS. Bayer received approval from the European Medicines Agency to market EYLEA PFS in the

European Union in 2012.61 However, upon information and belief, Vetter successfully imposed

the unreasonable exclusive supply restrictions on Bayer that Regeneron rejected. Given that

EYLEA PFS did not launch in Europe until eight years later in 2020, the reasonable inference is

that Vetter had been unable to adequately supply quality PFS filling services for EYLEA PFS in

Europe because Vetter had prioritized LUCENTIS PFS over EYLEA PFS, ultimately focusing its

time, money, and development efforts on Novartis’s drug product. The result harmed physicians

and patients who had no access to EYLEA PFS in European markets for eight years despite the

product have received regulatory approval.

     H. Novartis’s Continued Efforts to Artificially Limit Competition from Regeneron

        148.   Consistent with its anticompetitive conspiracy with Roche involving LUCENTIS

in the European Union, and in furtherance of its U.S. conspiracy with Vetter, Novartis has engaged



61
         European Medicines Agency, EYLEA, “Assessment Report,” (Sept. 20, 2012), available at
https://www.ema.europa.eu/en/documents/assessment-report/eylea-epar-public-assessment-report_en.pdf.


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in all efforts to unlawfully block, or at least hinder, competition from Regeneron’s EYLEA PFS

in the United States in a bid to control the anti-VEGF PFS market.

        149.     In 2018, Novartis made its first attempt to misuse patent litigation in order to

eliminate competition from EYLEA by filing a lawsuit in the Southern District of New York,

asserting that Regeneron infringed a different Novartis patent, U.S. Patent No. 5,688,688. That

effort failed when the Court entered a Judgment of Noninfringement and dismissed Novartis’s

claims with prejudice.62

        150.     More recently, Novartis engaged in allegedly unlawful and dangerous conduct with

respect to its most recent anti-VEGF to reach the market, BEOVU. BEOVU is a Novartis-owned

anti-VEGF that Novartis had been working to develop for years, including conducting clinical

trials comparing the safety and efficacy of BEOVU to EYLEA. Novartis had been lauding BEOVU

as a new, groundbreaking, and blockbuster anti-VEGF for the treatment of wet AMD. Novartis’s

clinical trials, however, uncovered significant safety issues in patients treated with BEOVU,

including higher rates of severe adverse reactions such as IOI, RAO, and ORV that could cause

permanent blindness. Rather than disclose these elevated risks, Novartis instead hid critical safety

data from the public—and from the FDA63—and embarked on a promotional campaign during its

2019 launch falsely touting BEOVU to be as safe as EYLEA. Despite being well aware of the




62
        See Novartis Vaccines and Diagnostics, Inc. et al v. Regeneron Pharmaceuticals Inc., No. 1:18-cv-
02434, Judgment of Noninfringement and Order of Dismissal, Dkt. 305 (S.D.N.Y. Sept. 4, 2019).
63
         Consistent with these allegations, a complaint for wrongful termination was recently filed by a
former Novartis employee alleging that Novartis deliberately concealed critical safety information for
BEOVU. See Butuner v. Novartis Pharmaceuticals Corp., No. 2:19-cv-06590, Complaint, Dkt. 1 (D.N.J
Feb. 22, 2019). According to the complaint, Novartis executives knowingly refused to publish true IOI rates
in 2018, which they knew to be much higher than EYLEA’s rates. See id. at ¶¶ 28-32. The complaint also
alleges that Novartis failed to adequately correct a material error in the safety data that it reported on arterio
thromboembolic event rates, which were falsely reported as superior to EYLEA. See id.


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increased safety risks associated with BEOVU, Novartis tried to steer physicians and patients away

from Regeneron’s tried and true EYLEA and towards its own BEOVU, which has significant

safety issues.

       151.      Shortly after BEOVU launched in October 2019, physicians quickly learned what

Novartis had tried to hide. BEOVU patients suffered from a growing number of serious adverse

reactions, including the IOI, RAO, and ORV events seen in Novartis’s clinical trials. Following a

series of stern public warnings from the American Society of Retinal Specialists and a significant

outcry from U.S. physicians and patients, Novartis commissioned an external safety review of

BEOVU. After the results of that review undeniably confirmed the safety issues associated with

BEOVU, Novartis was forced to update its FDA-approved label, highlighting the severity and

incidence of adverse reactions that could cause blindness in patients. Novartis also was forced to

admit that the adverse reactions of RAO and ORV caused by BEOVU “are part of a spectrum of

intraocular inflammation rates” revealed during Novartis’s pre-launch clinical trials.64

       152.      Given that Novartis’s attempts to compete on the merits against EYLEA with

BEOVU failed miserably, Novartis has fallen back on its fraudulently procured ʼ631 Patent and

its conspiracy with Vetter in a last ditch effort to again try to stop Regeneron from selling EYLEA

PFS in the United States. For years, Novartis has operated through Vetter to issue threats to enforce

the ’631 Patent against Regeneron and EYLEA PFS. Now Novartis is doing it directly.

       153.      On June 19, 2020, Novartis committed the latest step in its conspiracy with Vetter

to foreclose Regeneron and undermine the competitiveness of EYLEA PFS, and its own attempt


64
        Press Release, Novartis, “U.S. FDA Approves Updated Novartis Beovu® Label To Include
Additional Safety Information” (June 11, 2020), available at https://www.novartis.com/news/media-
releases/us-fda-approves-updated-novartis-beovu-label-include-additional-safety-
information#:~:text=Basel%2C%20June%2011%2C%202020%20%E2%80%94,and%20retinal%20vasc
ular%20occlusion1.


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monopolize the anti-VEGF PFS market. Novartis sued Regeneron in the ITC and the NDNY,

alleging patent infringement of its fraudulently procured ’631 Patent to wrongfully exclude

importation of EYLEA PFS and/or components thereof and enjoin EYLEA PFS sales. The timing

could not be more suspect. Novartis did not file suit when EYLEA PFS was approved by FDA, or

even when Regeneron launched EYLEA PFS in the United States. Instead, Novartis waited until

more than six months had passed—when Regeneron’s roll out of EYLEA PFS was highly

successful and almost complete with approximately 80% of patients switched from EYLEA vials

to PFS and when BEOVU’s clinical safety issues came to light. The only conclusion is that this

second infringement lawsuit against Regeneron is just a desperate and unlawful attempt by

Novartis to salvage its BEOVU failure.

       154.    Once again, Novartis is trying to wrongfully stop physicians and patients from

accessing what has been viewed as a superior treatment—EYLEA—in a more accurate and more

convenient method of administration—PFS. If Novartis somehow manages to succeed, it will

deprive patients and physicians of EYLEA PFS and all of its benefits, forcing them to choose

between a less effective treatment that requires more frequent injections into a patient’s eye

(LUCENTIS PFS), Novartis’s newest treatment that places patients at risk of serious adverse

reactions and even blindness (BEOVU), or EYLEA in a less convenient and less preferred format.

       155.    Even if Novartis does not succeed in its ITC and NDNY actions, it may well

succeed in dampening demand for EYLEA PFS and distracting Regeneron from competing

aggressively in the anti-VEGF PFS market. Physicians are reluctant to switch a patient’s treatment

regimen, so much so that for new patients some physicians may now opt for LUCENTIS PFS over

EYLEA PFS, despite its considerable drawbacks, simply because there is a risk that EYLEA PFS

may be forced out of the market. This reluctance would have the effect of reducing demand for



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EYLEA PFS and artificially inflating sales of LUCENTIS PFS (and perhaps BEOVU PFS, if

approved prior to a decision on Novartis’s patent infringement claims). Novartis’s ITC and NDNY

actions may also have the effect of forcing Regeneron to invest in a contingent source of supply

and production for EYLEA in vial form—an outcome that Novartis itself told the ITC that

Regeneron should contemplate: “[T]o the extent Regeneron is truly concerned about its ability to

supply patients with the vial presentation at the conclusion of this investigation, it is a problem …

it can easily rectify by beginning the process of converting to the vial today.”65 This glib suggestion

underscores Novartis’s complete lack of concern for the competitive and commercial

consequences of filing actions asserting its fraudulently obtained ‘631 Patent.

                                      RELEVANT MARKET

        156.    The relevant product market is anti-VEGFs in prefilled syringes that are approved

by the FDA for the treatment of certain ophthalmic diseases—referred to as the “anti-VEGF PFS”

market.

        157.    As explained above, anti-VEGFs are a class of FDA-approved drugs that are

publicly recognized in the medical community as the standard of care for treating certain

ophthalmic diseases, including Wet Age-Related Macular Degeneration, Diabetic Retinopathy,

Diabetic Macular Edema, and Macular Edema following Retinal Vein Occlusion. No other FDA-

approved treatment is reasonably interchangeable with anti-VEGFs for the treatment of these

ophthalmic diseases.

        158.    Drugs used “off-label” for the treatment of ophthalmic diseases are also not

reasonably interchangeable with FDA-approved anti-VEGFs. These off-label treatments have


65
       See Certain Pre-Filled Syringes for Intravitreal Injection and Components Thereof, DN 3460,
USITC No. 337-TA-[__], Complainants’ Reply to Statements on the Public Interest, at 2 (July 9, 2020) (the
“Novartis ITC Reply”).


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distinct characteristics and uses based upon their FDA-approved indications. As discussed above

in ¶¶ 66-68, drugs like Avastin need to be repackaged by third parties before they can be

administered intravitreally to patients. Due to concerns with dosing accuracy and sterilization,

many ophthalmologists and retinal specialists are unwilling to prescribe Avastin off-label to their

patients. Off-label drugs also have shown to be less effective at treating certain ophthalmic

diseases. Nevertheless, some practitioners, often due to the constraints imposed by insurance

payers, attempt to treat patients with Avastin first before ever considering treatment with anti-

VEGFs that are FDA approved for ophthalmic conditions. Thus, even for the practitioners that do

first use Avastin, Avastin is not reasonably interchangeable with anti-VEGFs FDA-approved for

ophthalmic diseases because the possibility of using Avastin has already been exhausted.

       159.    Additionally, non-FDA approved treatments, like Avastin, do not constrain the

pricing of FDA-approved anti-VEGF treatments for ophthalmic diseases. Avastin, a cancer drug,

is priced relative to other cancer drugs, not ophthalmic treatments, and is far less expensive

(approximately $50 per dose) than FDA-approved anti-VEGF ophthalmic treatments

(approximately $1,500 to $2,000 per dose). The fact that FDA-approved anti-VEGF treatments for

ophthalmic diseases have distinct prices from, and are able to sustain such a significant premium

over, Avastin demonstrates that they comprise a distinct relevant product market. A small, but

significant, price increase in FDA-approved anti-VEGF PFS treatments for ophthalmic diseases

therefore would not divert meaningful sales to Avastin or any other products.

       160.    Consistent with industry recognition and other practical indicia, Novartis does not

consider Avastin to be a competitor to EYLEA PFS and LUCENTIS PFS. In its Public Interest

Statement filed in its ITC action, Novartis did not even mention Avastin as a potential alternative




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treatment for patients to use.66 Drugs like Avastin that are not FDA-approved to treat ophthalmic

diseases are accordingly not part of the relevant product market.

        161.    In addition, anti-VEGF PFS treatments do not meaningfully compete with anti-

VEGF vials given that they each have particular characteristics and uses. As a result of their

method of administration, anti-VEGF PFS have distinct advantages in terms of accuracy and

convenience, which differentiates them from anti-VEGFs approved by the FDA in vial form—

even those containing the same active drug ingredient. Novartis itself recognizes the benefits of

convenience and efficiency for PFS in its Public Interest Statement to the ITC, referring to it as

“an important and valuable advance.”67 Tellingly, physicians have almost completely converted

their patients from vials to PFS due to the substantial benefits of PFS. Vials are becoming an

outdated method of administration as patients and physicians recognize the substantial benefits in

shifting permanently from vials to PFS.

        162.    As discussed above in ¶¶ 71-84, PFS are quicker and easier to use than vials for

anti-VEGFs. They eliminate multiple steps in the process, reducing the risk of inaccurate dosing

and increasing patient comfort. Studies also show that cases of endophthalmitis, an inflammation

of the interior of the eye, may be reduced with the use of anti-VEGFs in PFS instead of vials.68 In

fact, some third-party analysts “anticipate that a prefilled syringe will decrease the chance for

endophthalmitis by 50%.”69 By reducing the number of necessary steps for preparation and


66
         See id. Nor did Novartis mention Macugen as a potential alternative for patients to use. See id.
While Macugen received FDA approval in 2004 for a prefilled syringe to treat wet AMD only, it is also an
older, less effective treatment that is rarely prescribed anymore, if at all.
67
        See Novartis ITC Reply, at 3.
68
        Storey PP, Tauqeer Z, Yonekawa Y, et al., “The Impact of Prefilled Syringes on Endophthalmitis
Following Intravitreal Injection of Ranibizumab,” Am J Ophthalmol; 2019;199:200-208;
doi:10.1016/j.ajo.2018.11.023.
69
        Biotechnology Quarterly, “Regeneron Pharmaceuticals: Bullish on Dupixent but EYLEA Facing

                                                   65
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administration, PFS result in less exposure to potential contaminants that may cause adverse

reactions or complications during injection.

       163.    In addition to cross-elasticity of demand, other practical indicia demonstrate that

anti-VEGF PFS are not reasonably interchangeable with anti-VEGF vials. Industry participants,

including retinal specialists, recognize the significant advantages of PFS over vials: “Using

syringes prefilled with the soluble anti-VEGF agents will protect patients from the disastrous

consequences of endophthalmitis, assure the most efficient manner of precise dosing, and assist

with patient flow in growing, busy clinics.”70 Similarly, a third-party survey shows that a

significant number of doctors have indicated that they will increase their prescribing of EYLEA

due to the availability of PFS.71 And Genentech and Novartis have publicly touted the benefits of

LUCENTIS PFS compared to LUCENTIS vial.

       164.    Furthermore, manufacturing and commercializing anti-VEGF PFS requires unique

production facilities and capabilities that are distinct from those required to manufacture anti-

VEGF vials. It involves, among other things, specialized equipment and filling lines possessed by

a limited number of firms, as well as separate regulatory approval for anti-VEGF PFS treatments.

       165.    The benefits of PFS are also evidenced by the rapid uptake of PFS following launch.

Recent examples indicate that approximately 80% of patients changed over from vial to PFS

shortly after an anti-VEGF PFS was introduced. The experiences with both LUCENTIS PFS and



Major Competitive Threats” (Feb. 2020), at 19.
70
         Michael Colucciello, M.D., “Prefilled Syringe Delivery of Intravitreal Anti-VEGF Medications:
Advantages for Patients and Physicians, Retinal Physician (Mar. 1, 2019), available at
https://www.retinalphysician.com/issues/2019/march-2019/prefilled-syringe-delivery-of-intravitreal-anti-
ve#reference-15.
71
       See, e.g., Piper Sandler, “For Beovu, Surveys Indicate It Was the Best of Times, Then the Worst
of Times” (Mar. 3, 2020), at 18.


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EYLEA PFS demonstrate the strong preference of physicians for PFS over vials. And a small, but

significant, price increase in the PFS version would not cause physicians to substitute the vial

version for PFS (even if they contain the same underlying anti-VEGF).

       166.    The relevant geographic market is the United States. Because FDA approval is

required for the import, export, sale, and distribution of these complex biologic products in the

United States, patients and physicians cannot turn to sellers outside the United States for these

drug products. Neither physicians nor patients can import non-FDA-approved anti-VEGFs for the

treatment of ophthalmic diseases in response to small, but significant, price increases.

       167.    FDA-approved anti-VEGF PFS are also sold throughout the United States as people

who suffer from ophthalmic diseases live across the country. Finally, pricing for anti-VEGF PFS

treatments is done on a national basis.

                                     MONOPOLY POWER

       168.    Prior to the recent launch of EYLEA PFS, LUCENTIS PFS possessed virtually

100% of the U.S. market for anti-VEGFs in PFS approved by the FDA for the treatment of certain

ophthalmic diseases. LUCENTIS PFS has possessed this monopoly power since its 2017 U.S.

launch. LUCENTIS PFS currently has a significant share of the market. If Novartis succeeds in

enjoining Regeneron’s EYLEA PFS through its ITC action, then Novartis’s LUCENTIS PFS will

once again be the only available anti-VEGF PFS approved by the FDA and therefore will revert

to having virtually 100% share of the anti-VEGF PFS market in the United States.

       169.    Novartis has possessed, and will again possess if it succeeds in enjoining EYLEA

PFS, monopoly power in the anti-VEGF PFS market. LUCENTIS PFS’ significant and durable

market share is attributable to Novartis as the co-developer and co-owner of LUCENTIS and

LUCENTIS PFS, as well as Novartis being the ’631 Patent holder and licensor to Genentech.



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Novartis’s license to Genentech for the ’631 Patent enables Genentech to sell LUCENTIS PFS in

the United States. Novartis also owns a 33.3% stake in Roche, the parent company of Genentech.

Novartis accordingly benefits significantly from LUCENTIS PFS dominating the anti-VEGF PFS

market in the United States.

       170.    Novartis has attempted to maintained, and then attempted to reacquire, its

monopoly power in the anti-VEGF PFS market through its collusive agreement with Vetter, which

enables Novartis to control Vetter’s PFS filling services and customer relationships. With capacity

constraints and other hurdles to commercializing an anti-VEGF PFS, and Vetter exclusively filling

LUCENTIS PFS, Novartis has a tight grip on the supply of these drug products. Vetter also has

attempted to re-monopolize the market by enforcing its fraudulently procured ’631 Patent against

Regeneron.

                                    BARRIERS TO ENTRY

       171.    The anti-VEGF PFS market in the United States is characterized by substantial and

durable barriers to entry that protect and fortify Novartis’s monopoly power, and the monopoly

power Novartis is attempting to re-acquire, by asserting the fraudulently procured ’631 Patent

against Regeneron.

       172.    Barriers to entry include the substantial time and expenses required to develop a

complex and innovative biologic drug like an anti-VEGF PFS. Barriers to entry also include FDA’s

regulatory and approval process, which requires significant time, investment, and efforts to obtain

U.S. approval for any pharmaceutical product. For example, the FDA recently rejected an

application from a potential entrant for a new anti-VEGF therapy to treat wet AMD due to concerns

with safety risks, including high incidence of intraocular inflammation.72 The FDA approval


72
        “Allergan/Abbvie’s Macular Degeneration Drug Rejected by FDA,” BioSpace (June 26, 2020),
available at https://www.biospace.com/article/fda-reject-s-allergan-s-abicipar-pegol-for-age-related-

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process for a PFS version alone is sufficiently substantial that it effectively insulates the anti-

VEGF PFS market from new entry even for a firm that already has an FDA-approved anti-VEGF

drug product.

       173.     Even after a company develops an anti-VEGF PFS and obtains FDA approval, there

are substantial barriers to bringing it to market. The company must secure a reliable multi-level

supply chain, including a filler for the PFS. Vetter is the dominant PFS filler, there are limited

other fillers available, and entry and expansion in the filling space is rare. As explained by Vetter,

“the creation of…a commercial site for manufacturing pharmaceutical and biotech drug products

requires a significant initial investment of more than $300 million. . . .Therefore, in order to

seriously undertake such a large project, it is important that [they] have in place a stable financial

plan that justifies this investment.”73 Regeneron’s own experience in developing EYLEA PFS and

in establishing a new supply chain once Vetter refused to continue development confirms that it

takes many years and millions of dollars to secure a viable alternative PFS filler.

       174.     Finally, through their anticompetitive and exclusionary conduct, Defendants have

erected, and Novartis continues to raise with its fraudulent patent infringement suit, additional,

artificial and anticompetitive barriers to entry in the U.S. anti-VEGF PFS market. Any prospective

entrant into the anti-VEGF PFS market, including any anti-VEGF PFS biosimilar, would have to

contend with the same threats that Vetter and Novartis have levied against Regeneron.

                                      ANTITRUST INJURY

       175.     By their anticompetitive scheme, Defendants Novartis and Vetter have harmed—



macular-degeneration/.
73
       FiercePharma, “Start of Vetter’s $300M U.S. Sterile Plant Project Delayed for Years,” (Feb. 6,
2018), available at https://www.fiercepharma.com/manufacturing/ground-breaking-for-vetter-u-s-
manufacturing-plant-may-not-happen-until-2022.


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and continue to harm—competition in the U.S. anti-VEGF PFS market in violation of Sections 1

and 2 of the Sherman Act. As a result, Regeneron has suffered and will continue to suffer injury

to its business or property, including incurring substantial additional costs in the manufacturing

and commercialization of EYLEA PFS, defending against Novartis’s bogus patent infringement

actions in the NDNY and ITC, being forced to bring this lawsuit to stop Defendants’ pattern of

anticompetitive conduct, lost sales and business opportunities for EYLEA PFS, and developing a

contingent source of EYLEA vials to guard against the risk that patients would not have access to

EYLEA at all if Novartis succeeds in its efforts to block EYLEA PFS.

       176.    Competition in the anti-VEGF PFS market has been harmed by Novartis’s

monopolization attempts and its anticompetitive conspiracy with Vetter. Novartis, acting alone

and in concert with Vetter, has delayed innovation and reduced patient choice in the anti-VEGF

PFS market by resorting to every means possible to try to thwart the entry and sale of Regeneron’s

EYLEA PFS—a treatment regarded by many physicians as superior to LUCENTIS. Defendants

have sought to deprive U.S. patients of a meaningful choice through their anticompetitive scheme

that has as its heart Novartis’s fraudulently procured ’631 Patent. Novartis used that patent to bring

Vetter under its dominion and to undermine the Vetter/Regeneron collaboration to develop and

supply EYLEA PFS in the United States. Consistent with this scheme, Vetter attempted to leverage

the then-pending application for the ’631 Patent to extort a long-term supply agreement that would

give Novartis and Vetter control over the supply of all anti-VEGF PFS treatments worldwide—

including EYLEA PFS. When that failed, Vetter refused to provide any PFS filling services for

EYLEA PFS, resulting in delay and significant expense to Regeneron to commercialize the

product. And when EYLEA PFS finally launched to great success, Novartis filed suit to enforce

the fraudulently procured ’631 Patent to exclude EYLEA PFS from the market altogether, thereby



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attempting to re-monopolize the market for anti-VEGF PFS treatments and deprive U.S. patients

of the significant benefits of EYLEA PFS.

       177.    Defendants’ anticompetitive conduct has forced Regeneron to divert precious and

limited resources (which would otherwise be used for research and development to the benefit of

patients) to navigate around the artificial and anticompetitive barriers that Defendants erected.

Specifically, after being delayed by Novartis’s and Vetter’s anticompetitive exclusive licensing

scheme, Regeneron was forced to spend additional substantial and unnecessary costs to develop a

reliable supply of EYLEA PFS using a different filler, assembly lines, syringes, siliconization,

sterilization, and PFS parts.

       178.    Now that Regeneron has finally developed its new supply and filler chain, obtained

FDA approval, and launched EYLEA PFS in the United States, Regeneron is being forced to spend

time and resources defending bogus litigation on multiple fronts based on a fraudulently procured

patent. In addition, if Novartis succeeds, Regeneron will be forced to incur even more costs related

to EYLEA PFS, such as attempting to secure an alternative domestic supply for PFS syringes (at

significant time and expense) and obtaining the necessary regulatory approvals, and/or preparing

for the possibility that EYLEA will be limited to vials. If Regeneron is forced to return its

production and sales to EYLEA vials, it will incur substantial costs related to: (1) securing new

sources of the required glass vials, stoppers, needles, containers, or other components; (2)

identifying and negotiating vial filling capacity with third parties; (3) reserving contingent vial

production capacity; (4) manufacturing additional bulk product for the contingent vial production;

and (5) locating a new supplier or renegotiating with a current supplier to assemble the vial kits.

       179.    Most harmful of all, if Novartis succeeds in excluding EYLEA PFS, it will deprive

patients and physicians of EYLEA in a more convenient and easier method of administration



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altogether. By seeking to block EYLEA PFS from the U.S. market, Defendants are trying to force

physicians to make a choice: choose the product regarded by many physicians and patients as

superior—EYLEA (but in the significantly less preferred vial presentation)—or choose the more

accurate and more convenient method of administration—LUCENTIS PFS (but with more

frequent injections and lower efficacy for certain indications). The third option, Novartis’s

BEOVU, provides neither the safety of EYLEA nor the convenience of a PFS. Patients should not

be forced to make this harmful tradeoff. Absent Defendants’ anticompetitive conduct, physicians

and patients could—and should—have all of these medical advantages combined into one

treatment, Regeneron’s EYLEA PFS.

       180.    With a monopoly over the U.S. anti-VEGF PFS market, Defendants also will have

the power to increase prices to U.S. consumers. This is particularly harmful given that Regeneron

has not materially increased the price of the EYLEA vial since its launch in 2011. Given that the

only potential near-term entrant into the anti-VEGF PFS market is another treatment owned by

Novartis (i.e., BEOVU), Regeneron’s EYLEA PFS places unique competitive pressures on

LUCENTIS PFS. Novartis has admitted in its NDNY action that competition from EYLEA PFS

has resulted and will continue to result in “a loss of market share, price erosion, . . . and direct and

indirect competition.”74 According to Novartis’s own claims, therefore, the loss of EYLEA PFS

will produce higher market shares and inflated prices for LUCENTIS PFS.

       181.    Lastly, Defendants’ anticompetitive conduct sends a chilling message to any

pharmaceutical company looking to invest in pioneering new and innovative anti-VEGF PFS

treatments for ophthalmic diseases. Even if Regeneron prevails in the patent litigations brought by

Novartis (as it fully expects to do), pharmaceutical companies seeking to engage in research and


74
       Novartis NDNY Compl. at ⁋ 32.


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development and enter the anti-VEGF PFS market will be deterred from doing so due to the

prospect of significantly higher costs caused by Defendants’ anticompetitive conduct, ultimately

to the detriment of patients.

       182.    Novartis’s and Vetter’s unlawful conduct has accordingly deprived Regeneron, as

well as patients and physicians, of the benefits of competition that the U.S. antitrust laws were

designed to protect.

                                    CLAIMS FOR RELIEF

 COUNT ONE: ATTEMPTED MONOPOLIZATION THROUGH WALKER PROCESS
 FRAUD IN VIOLATION OF SECTION 2 OF THE SHERMAN ACT (against Novartis)

       183.    Regeneron incorporates by reference all of the allegations set forth above as if fully

set forth below.

       184.    The ’631 Patent is unenforceable because Novartis committed fraud on the USPTO

in order to obtain the ’631 Patent. At least three Novartis employees committed inequitable

conduct, including Individual #1, a Novartis employee and the lead inventor of the ’631 Patent,

and Individual #2 and Individual #3, the Novartis patent practitioners responsible for the

prosecution of the application that led to issuance of the ’631 Patent (together, the “Novartis

Individuals”). The Novartis Individuals knew of the prior art, knew that it was material, and

deliberately withheld the existence of the prior art from the USPTO in order to obtain allowance

of claims directed to a terminally sterilized anti-VEGF PFS.

       185.    The Novartis Individuals knew of material prior art that disclosed terminal

sterilization of a PFS containing an anti-VEGF for intravitreal injection because of their

involvement in the parallel prosecution (under a different set of examiners) of another Novartis

application (the ’380 Application) directed to terminal sterilization of a prefilled syringe. The

Novartis Individuals also knew the information was material and deliberately withheld the


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information demonstrating unpatentability from the Syringe Examiner evaluating the application

for the ’631 Patent. More specifically, the Novartis Individuals deliberately withheld at least the

following material information from the Syringe Examiner: (1) WO ’877; (2) Metzner; (3)

Hasegawa; and (4) the five office actions from the Sterilization Examiners during the prosecution

of the ’380 Application concluding that it was obvious to terminally sterilize a prefilled syringe

containing an anti-VEGF drug product.

       186.    This information was material to the patentability of the claims of the ’631 Patent

because the ’631 Patent would not have issued had the Syringe Examiner been aware of this

undisclosed prior art and office actions by the Sterilization Examiners. The single most reasonable

inference that may be drawn is that the Novartis Individuals withheld this material prior art with

an intent to deceive the USPTO. The ’631 Patent issued to Novartis on December 29, 2015.

       187.    On June 19, 2020, Novartis filed multiple patent infringement actions against

Regeneron, asserting the ’631 Patent in the ITC and NDNY, and seeking an exclusion order barring

importation of EYLEA PFS and/or components thereof and other relief. Novartis asserted the ’631

Patent with full knowledge of the prosecution history of the ’631 Patent and the ’380 Application,

and therefore with full knowledge of the fraudulent manner in which ’631 Patent was procured.

The ITC and NDNY actions are an attempt by Novartis to hamper the introduction and expansion

of Regeneron’s EYLEA PFS in the United States and to monopolize the anti-VEGF PFS market

using the fraudulently procured ’631 Patent.

       188.    Anti-VEGFs in PFS that are approved by the FDA to treat certain ophthalmic

diseases in the United States constitute a relevant market—the “anti-VEGF PFS market.”




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        189.     Today, there are effectively only two such anti-VEGF PFS treatments approved in

the United States: LUCENTIS PFS and EYLEA PFS.75 Other products are not reasonable

substitutes for, and not functionally interchangeable with, anti-VEGF PFS treatments because anti-

VEGF PFS have unique characteristics, including superior efficacy and convenience, that

distinguish them from alternative products, including anti-VEGFs supplied in vials. In response to

a small but significant and non-transitory increase in the price of anti-VEGF PFS, U.S. physicians

would not meaningfully switch their patients to any other product or treatment. Other practical

indicia also support the conclusion that anti-VEGF PFS constitute the relevant product market.

        190.     The United States is the relevant geographic market for anti-VEGF PFS treatments.

In order to be sold in the United States, anti-VEGF PFS products must be approved by the U.S.

FDA, a process which is difficult, expensive, and time consuming. As a result, U.S. physicians

cannot turn to products that are not approved for sale in the United States as an alternative, and

would not be able to even if the price of U.S. anti-VEGF PFS products were to increase by a small,

but significant and non-transitory amount.

        191.     From the time that LUCENTIS PFS launched in the United States in early 2017

until the recent commercial launch of EYLEA PFS, LUCENTIS PFS possessed monopoly power.

During that period, LUCENTIS PFS was effectively the only available anti-VEGF PFS treatment

with virtually 100% of the U.S. anti-VEGF PFS market. Although EYLEA PFS has launched,

LUCENTIS PFS still retains a significant share of the U.S. anti-VEGF PFS market. LUCENTIS

PFS’ significant and durable market share is attributable to Novartis as the ’631 Patent holder and

licensor to Genentech, as well as the co-developer and co-owner of LUCENTIS and LUCENTIS



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         While Macugen received FDA approval in 2004 for a prefilled syringe to treat wet AMD only, it
is also an older, less effective treatment that is rarely prescribed anymore, if at all. Macugen is therefore not
a competitive product in the anti-VEGF PFS market.

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PFS. If Novartis succeeds in enjoining Regeneron’s EYLEA PFS through its ITC action, then

LUCENTIS PFS will automatically recapture virtually all or 100% of the anti-VEGF PFS market.

       192.    Significant and substantial commercial, developmental, regulatory, and other

barriers insulate the anti-VEGF PFS market from new entry and expansion. Those barriers include,

among other things, Novartis’s fraudulently procured ’631 Patent, which Novartis has used, and

continues to use, in its unlawful attempts to exclude competition in the anti-VEGF PFS market.

       193.    Novartis’s anticompetitive and exclusionary conduct has directly and proximately

caused injury to Regeneron’s business and property. As a result of Novartis’s anticompetitive

conduct, Regeneron has incurred, is incurring, or expects to incur, substantial costs and damages,

including but not limited to, costs associated with: (1) defending against Novartis’s unlawful ITC

and NDNY actions; (2) invalidating Novartis’s fraudulently procured ’631 Patent; (3) securing

alternative domestic sources of supply of PFS syringes and obtaining necessary regulatory

approvals; and (4) preparing for the possibility that EYLEA will be limited to vial sales, including

any and all costs relating to: (a) securing new sources of the required glass vials, stoppers, needles,

containers, or other components; (b) identifying and negotiating vial filling capacity with third

parties; (c) reserving contingent vial production capacity; (d) manufacturing additional bulk

product for the contingent vial production; and (e) locating a new supplier or renegotiating with a

current supplier to assemble the vial kits. Additionally, Regeneron may suffer a reduction in

EYLEA sales due to the uncertainty that physicians will be able to continue prescribing EYLEA

PFS.

       194.    Novartis’s enforcement of its fraudulently procured ’631 Patent constitutes

anticompetitive conduct taken with the specific intent to monopolize the anti-VEGF PFS market

in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2. There is a dangerous probability that



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Novartis will recapture its monopoly power. If Novartis succeeds in enforcing the ’631 Patent and

obtains an exclusion from the ITC, Novartis will eliminate EYLEA PFS from the U.S. market

altogether, thereby restoring the LUCENTIS PFS monopoly with virtually all or 100% market

share. Novartis admits that the launch of EYLEA PFS has caused Novartis to suffer “harm” that

includes “loss of market share, price erosion,…and direct and indirect competition.”76 The “harms”

that Novartis complains about are the very benefits of competition that the U.S. antitrust laws are

designed to protect. Given that the only potential near-term entrant into the anti-VEGF PFS market

is another drug owned by Novartis (i.e., BEOVU), Regeneron’s EYLEA PFS places unique

competitive pressures on LUCENTIS PFS. If EYLEA PFS is foreclosed from the U.S. market,

then LUCENTIS PFS will once again be the only anti-VEGF PFS drug approved by the FDA,

enabling Novartis to control prices and exclude competition through its monopoly power.

       195.    Novartis’s conduct has harmed competition by delaying innovation in the anti-

VEGF PFS market, depriving U.S. physicians and patients of a meaningful choice and a preferred

treatment, and reducing the availability of PFS ophthalmic disease treatments. Most harmful of

all, if Novartis succeeds in its ITC action, it will deprive patients and physicians of EYLEA in a

more convenient and easier method of administration altogether. Novartis is trying to force

physicians to make a choice: choose the product regarded by many physicians and patients as

superior—EYLEA (but in the significantly less preferred vial presentation)—or choose the more

accurate and more convenient method of administration—LUCENTIS PFS (but with more

frequent injections and lower efficacy for certain indications). The third option, Novartis’s

BEOVU, provides neither the safety of EYLEA nor the convenience of a PFS. Patients should not

be forced to make this harmful tradeoff. Absent Novartis’s anticompetitive conduct, physicians


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       Novartis NDNY Compl. at ⁋ 32.


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and patients could—and should—have all of these medical advantages combined into one

treatment, Regeneron’s EYLEA PFS.

        196.     These injuries to Regeneron and to competition are of the type the antitrust laws

are intended to prevent and flow directly from Novartis’s anticompetitive conduct in violation of

Section 2 of the Sherman Act.

        197.     Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as well as

attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26.

         COUNT TWO: ATTEMPTED MONOPOLIZATION IN VIOLATION OF
              SECTION 2 OF THE SHERMAN ACT (against Novartis)

        198.     Regeneron incorporates by reference all of the allegations set forth above as if fully

set forth below.

        199.     Anti-VEGFs in PFS that are approved by the FDA to treat certain ophthalmic

diseases in the United States constitute a relevant market—the “anti-VEGF PFS market.”

        200.     Today, there are effectively only two such anti-VEGF PFS treatments approved in

the United States: LUCENTIS PFS and EYLEA PFS.77 Other products are not reasonable

substitutes for, and not functionally interchangeable with, anti-VEGF PFS treatments because anti-

VEGF PFS have unique characteristics, including superior accuracy and convenience, that

distinguish them from alternative products, including anti-VEGFs supplied in vials. In response to

a small but significant and non-transitory increase in the price of anti-VEGF PFS, U.S. physicians

would not meaningfully switch their patients to any other product or treatment. Other practical

indicia also support the conclusion that anti-VEGF PFS constitute a relevant product market.

        201.     The United States is the relevant geographic market for anti-VEGF PFS treatments.


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         While Macugen received FDA approval in 2004 for a prefilled syringe to treat wet AMD only, it
is also an older, less effective treatment that is rarely prescribed anymore, if at all. Macugen is therefore not
a competitive product in the anti-VEGF PFS market.

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In order to be sold in the United States, anti-VEGF PFS products must be approved by the U.S.

FDA, a process which is difficult, expensive, and time consuming. As a result, U.S. physicians

cannot turn to products that are not approved for sale in the United States as an alternative, and

would not be able to even if the price of U.S. anti-VEGF PFS products were to increase by a small,

but significant and non-transitory amount.

       202.    From the time that LUCENTIS PFS launched in the United States in early 2017

until the recent commercial launch of EYLEA PFS, LUCENTIS PFS possessed monopoly power.

During that period, LUCENTIS PFS was the only available anti-VEGF PFS treatment with

virtually 100% of the U.S. anti-VEGF PFS market. Although EYLEA PFS has launched,

LUCENTIS PFS still retains a significant share of the U.S. anti-VEGF PFS market. LUCENTIS

PFS’ significant and durable market share is attributable to Novartis as the ’631 Patent holder and

licensor to Genentech, as well as the co-developer and co-owner of LUCENTIS and LUCENTIS

PFS. Significant and substantial commercial, developmental, regulatory, and other barriers

insulate the anti-VEGF PFS market from new entry and expansion.

       203.    Novartis embarked on an anticompetitive scheme to maintain, entrench, extend,

and ultimately restore its monopoly power in the anti-VEGF PFS market, and the cornerstone of

that scheme was Novartis’s fraudulently procured ’631 Patent. As described above, the ’631 Patent

is unenforceable because Novartis committed fraud on the USPTO. At least three Novartis

employees committed inequitable conduct, including Individual #1, a Novartis employee and the

lead inventor of the ’631 Patent, and Individual #2 and Individual #3, the Novartis patent

practitioners responsible for the prosecution of the application that led to issuance of the ’631

Patent. These Novartis Individuals knew of the prior art, knew that it was material, and deliberately

withheld the existence of the prior art from the USPTO in order to obtain allowance of claims



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directed to a terminally sterilized anti-VEGF PFS. The single most reasonable inference that may

be drawn is that the Novartis Individuals withheld this material prior art with an intent to deceive

the USPTO. The ’631 Patent issued to Novartis on December 29, 2015.

       204.    Novartis also attempted to monopolize the anti-VEGF PFS market by leveraging

its fraudulently procured and unenforceable ʼ631 Patent to coerce Regeneron into a 20-year

exclusive PFS filler agreement with Vetter (Novartis’s co-conspirator). In 2013, Novartis used the

patent application that eventually became Novartis’s fraudulently procured ʼ631 Patent to obtain

a lucrative economic interest in Vetter’s PFS filling services in the form of Vetter’s assent to

encumber “existing customers”—notably Regeneron—with anticompetitive restrictions as a

condition of continuing to work with them. Novartis effectively used the ʼ631 Patent to obtain

control over Vetter’s filling customers and relationships. Following Novartis’s anticompetitive

agreement, Vetter demanded that Regeneron take a license to Novartis’s pending patent

application that later became the ’631 Patent to continue developing EYLEA PFS. The catch was

that Regeneron had to commit to a 20-year exclusive supply arrangement with Vetter for EYLEA

PFS and agree never to challenge the enforceability of Novartis’s fraudulently procured ’631

Patent. Regeneron had no choice but to refuse.

       205.    The overarching goal of Novartis’s monopolization scheme conduct was to control,

and ultimately restrict, the supply of all anti-VEGF PFS treatments in the United States for nearly

20 years—i.e., the duration of Novartis’s unenforceable ’631 Patent. By threatening Regeneron

with infringement of the ’631 Patent through Vetter, Novartis sought to delay competition from

EYLEA PFS in order to maintain its LUCENTIS PFS monopoly as the only anti-VEGF PFS

approved by the FDA in the United States. Alternatively, if Regeneron agreed to the exclusive

EYLEA PFS filling relationship with Vetter, then Novartis would maintain its monopoly by



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controlling, through its agreement with Vetter, the supply of all anti-VEGF PFS—LUCENTIS

PFS, EYLEA PFS, and the new BEOVU PFS upon Novartis’s commercial launch.

       206.    Now Novartis has taken the latest step in its monopolization scheme. On June 19,

2020, Novartis filed multiple bogus patent infringement lawsuits against Regeneron based on its

fraudulently procured patent in the NDNY and ITC, seeking an exclusion order. Novartis has

asserted the ’631 Patent with full knowledge of the prosecution history of the ’631 Patent and the

’380 Application, and therefore with full knowledge of the fraudulent manner in which ’631 Patent

was procured. The NDNY and ITC actions are an attempt by Novartis to hamper the introduction

and expansion of Regeneron’s EYLEA PFS in the United States and to monopolize the anti-VEGF

PFS market using a fraudulently procured patent.

       207.    Novartis’s has acted with the specific intent to monopolize the anti-VEGF PFS

market in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2. Novartis’s intent is evidenced

by Novartis’s anticompetitive conspiracy in Europe related to LUCENTIS, its attempts to stall and

delay EYLEA PFS every step of the way through threats of patent infringement with Vetter, its

attempts to hold EYLEA PFS captive to a 20-year filling arrangement so that it could limit supply,

its efforts to mislead the public regarding the safety of BEOVU so as to steer patients away from

EYLEA PFS, and finally its filing of bogus patent infringement lawsuits seeking to enjoin EYLEA

PFS—conveniently timed right after its supposedly groundbreaking BEOVU crashed and burned

in the United States.

       208.    There is a dangerous probability that Novartis will succeed in recapturing

monopoly power through the enforcement of its fraudulently procured ’631 Patent. If Novartis

obtains an exclusion order from the ITC, then Novartis will eliminate EYLEA PFS from the U.S.

market, thereby restoring the LUCENTIS PFS monopoly with virtually all or 100% market share.



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Novartis admits that the launch of EYLEA PFS has caused Novartis to suffer “harm” that includes

“loss of market share, price erosion,…and direct and indirect competition.”78 The “harms” that

Novartis complains about are the very benefits of competition that the U.S. antitrust laws are

designed to protect. Given that the only potential near-term entrant into the anti-VEGF PFS market

is another drug owned by Novartis (i.e., BEOVU), Regeneron’s EYLEA PFS places unique

competitive pressures on LUCENTIS PFS. If EYLEA PFS is foreclosed from the U.S. market,

then LUCENTIS PFS will once again be the only anti-VEGF PFS drug approved by FDA, enabling

Novartis to control prices and exclude competition through its monopoly power.

       209.    Novartis’s anticompetitive and exclusionary conduct has directly and proximately

caused injury to Regeneron’s business and property. Regeneron has been forced to divert precious

and limited resources (which would otherwise be used for research and development to the benefit

of patients) to navigate around the artificial and anticompetitive barriers that Novartis erected.

Specifically, Regeneron has incurred additional substantial and unnecessary costs, including for

manufacturing and development, for its EYLEA PFS, spending years to develop an entirely new

and alternative reliable supply of EYLEA PFS using a different filler, assembly lines, syringes,

siliconization, terminal sterilization, and PFS parts.

       210.    Now that Regeneron has finally developed its new supply and filler chain, obtained

FDA approval, and launched EYLEA PFS in the United States, Regeneron is being forced to spend

time and resources defending bogus litigation on multiple fronts and invalidating Novartis’s

fraudulently procured ’631 Patent. In addition, Regeneron will be forced to incur even more costs

related to EYLEA PFS, such as securing alternative domestic supply for PFS syringes and

obtaining the necessary regulatory approvals, and/or preparing for the possibility that EYLEA will


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       Novartis NDNY Compl. at ⁋ 32.


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be limited to vials. If Regeneron is forced to return its production and sales to EYLEA vials, it will

incur substantial costs related to: (1) securing new sources of the required glass vials, stoppers,

needles, containers, or other components; (2) identifying and negotiating vial filling capacity with

third parties; (3) reserving contingent vial production capacity; (4) manufacturing additional bulk

product for the contingent vial production; and (5) locating a new supplier or renegotiating with a

current supplier to assemble the vial kits. Additionally, Regeneron may suffer a reduction in

EYLEA sales due to the uncertainty that physicians will be able to continue prescribing EYLEA

PFS.

       211.    Novartis’s conduct has harmed competition by delaying innovation in the anti-

VEGF PFS market, depriving U.S. physicians and patients of a meaningful choice and a preferred

treatment, and reducing the availability of PFS ophthalmic disease treatments. Most harmful of

all, if Novartis succeeds in its ITC action, it will deprive patients and physicians of EYLEA in a

more convenient and easier method of administration altogether. Novartis is trying to force

physicians to make a choice: choose the product regarded by many physicians and patients as

superior—EYLEA (but in the significantly less preferred vial presentation)—or choose the more

accurate and more convenient method of administration—LUCENTIS PFS (but with more

frequent injections and lower efficacy for certain indications). The third option, Novartis’s

BEOVU, provides neither the safety of EYLEA nor the convenience of a PFS. Patients should not

be forced to make this harmful tradeoff. Absent Novartis’s anticompetitive conduct, physicians

and patients could—and should—have all of these medical advantages combined into one

treatment, Regeneron’s EYLEA PFS.

       212.    These injuries to Regeneron and to competition are of the type the antitrust laws

are intended to prevent and flow directly from Novartis’s anticompetitive conduct in violation of



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Section 2 of the Sherman Act.

        213.     Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as well as

attorneys’ fees and costs under Section 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26.

     COUNT THREE: UNREASONABLE RESTRAINT OF TRADE IN VIOLATION OF
          SECTION 1 OF THE SHERMAN ACT (against Novartis and Vetter)
        214.     Regeneron incorporates by reference all of the allegations set forth above as if fully

set forth below.

        215.     Anti-VEGFs in PFS that are approved by the FDA to treat certain ophthalmic

diseases in the United States constitute a relevant market—the “anti-VEGF PFS market.”

        216.     Today, there are effectively only two such anti-VEGF PFS treatments approved in

the United States: LUCENTIS PFS and EYLEA PFS.79 Other products are not substitutes for,

nor are they functionally interchangeable with, anti-VEGF PFS treatments because anti-VEGF

PFS have unique characteristics, including superior accuracy and convenience, that distinguish

them from alternative products, including anti-VEGFs supplied in vials. In response to a small

but significant and non-transitory increase in the price of anti-VEGF PFS, U.S. physicians would

not meaningfully switch their patients to any other product or treatment. Other practical indicia

also support the conclusion that anti-VEGF PFS constitute the relevant product market.

        217.     The United States is the relevant geographic market for anti-VEGF PFS treatments.

In order to be sold in the United States, anti-VEGF PFS products must be approved by the U.S.

FDA, a process which is difficult, expensive, and time consuming. As a result, U.S. physicians

cannot turn to products that are not approved for sale in the United States as an alternative, and

would not be able to even if the price of U.S. anti-VEGF PFS products were to increase by a small,


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         While Macugen received FDA approval in 2004 for a prefilled syringe to treat wet AMD only, it
is also an older, less effective treatment that is rarely prescribed anymore, if at all. Macugen is therefore not
a competitive product in the anti-VEGF PFS market.

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but significant and non-transitory amount.

       218.    From the time that LUCENTIS PFS launched in the United States in early 2017

until the recent commercial launch of EYLEA PFS, LUCENTIS PFS possessed monopoly power.

During that period, LUCENTIS PFS was the only available anti-VEGF PFS treatment approved

by the FDA with virtually 100% of the U.S. anti-VEGF PFS market. Although EYLEA PFS has

launched, LUCENTIS PFS retains market power in the U.S. anti-VEGF PFS market. LUCENTIS

PFS’ significant and durable market share is attributable to Novartis as the ’631 Patent holder and

licensor to Genentech, as well as the co-developer and co-owner of LUCENTIS and LUCENTIS

PFS. If Novartis succeeds in enjoining Regeneron’s EYLEA PFS through its ITC action, then

LUCENTIS PFS will automatically recapture virtually all or 100% of the anti-VEGF PFS market.

Significant and substantial commercial, developmental, regulatory, and other barriers insulate the

anti-VEGF PFS market from new entry and expansion.

       219.    Shortly after Novartis submitted its application for what would become the

fraudulently procured ‘631 Patent, Novartis embarked on a scheme to enlist Vetter in an

anticompetitive conspiracy to hinder, delay, and unreasonably restrain competition in the PFS anti-

VEGF market. Novartis and Vetter had been embroiled in an ownership dispute regarding the

pending patent application, and Novartis used this settlement process to reach an anticompetitive

arrangement with Vetter in 2013. While claiming to resolve a dispute over the ’631 Patent,

Defendants Novartis and Vetter entered into an unlawful conspiracy expressly aimed at

controlling—and limiting—competition in the U.S. anti-VEGF PFS market.

       220.    Upon information and belief, Novartis provided Vetter with a “co-exclusive”

license to its fraudulently procured ’631 Patent in exchange for Novartis extracting a lucrative

financial stake in Vetter’s PFS filling services. This anticompetitive agreement co-opted Vetter,



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allowing Novartis to exert influence over Vetter’s current and future customer relationships.

Novartis and Vetter agreed to certain undisclosed conditions regarding Vetter’s existing customers

including Regeneron. While Novartis would benefit from this anticompetitive agreement by

controlling the entire anti-VEGF PFS market, Vetter would benefit by becoming the sole filler for

the anti-VEGF PFS market—since Novartis would wield its ʼ631 Patent against any company that

tried to compete by using a different PFS filler. Novartis ultimately leveraged its fraudulently

procured ’631 Patent to secure Vetter’s assent to disrupt the then-ongoing collaboration between

Vetter and Regeneron to develop EYLEA PFS.

       221.    Following its anticompetitive agreement with Novartis, Vetter reversed course and

did just as Novartis had planned. Despite having worked with Regeneron for approximately eight

years on the development of EYLEA PFS, Vetter abruptly changed its conduct in late 2013,

demanding that Regeneron take a sublicense to Novartis’s patent application that later—in 2015—

became the ’631 Patent in order to continue development. Vetter then offered Regeneron a

sublicense but with radically new and onerous terms. First, Regeneron had to agree to use Vetter

as its exclusive PFS filler for the next 20 years—i.e., throughout the life of Novartis’s yet to be

issued ’631 Patent. Second, Regeneron had to agree never to challenge the validity or

enforceability of Novartis’s yet to be issued ’631 Patent. The impact of this illicit “no-challenge”

clause would have been to further cement Regeneron’s exclusive filling arrangement with Vetter.

It was designed to ensure that Regeneron could not use an alternative PFS filler under any

circumstance, secured by the threat of an infringement action on a patent that Regeneron could not

challenge.

       222.    Novartis and Vetter tried to leverage the fraudulently procured and unenforceable

’631 Patent to coerce Regeneron into an exclusive arrangement with Vetter so that they could



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control the supply of all anti-VEGF PFS drugs. The terms were carefully designed to ensure that

any option Regeneron chose would accomplish the goal of limiting the competitive pressure from

EYLEA PFS: either Vetter would force Regeneron to agree to the anticompetitive terms Novartis

wanted and EYLEA PFS would be locked in as subordinate to LUCENTIS PFS with Vetter, or

Regeneron would be forced to sever its relationship with Vetter, delaying the development and

launch of EYLEA PFS and opening up Regeneron to vexatious litigation by Novartis under the

fraudulently procured ‘631 Patent.

       223.    Regeneron was in a no-win situation. Regeneron either had to agree to Vetter’s

exclusive PFS filling agreement for 20 years, against its wishes, and accept a patent sublicense

with a “no challenge” clause, or be forced to secure a completely new supply and fill chain for the

EYLEA PFS and face a bogus infringement lawsuit. Regeneron ultimately had no choice but to

reject Novartis’s and Vetter’s demands, even though it meant that the approval and launch of

EYLEA PFS would be delayed significantly in the United States.

       224.    Following Regeneron’s refusal to allow Vetter and Novartis to control the supply

of all anti-VEGF PFS for nearly 20 years, Vetter refused to make its essential PFS filling services

available to Regeneron for the EYLEA PFS. Given that Vetter is the dominant supplier of unique

PFS filling services for anti-VEGFs and Vetter had been working with Regeneron for

approximately eight years to develop EYLEA PFS, this unlawful joint conduct to deny Regeneron

any non-exclusive PFS filling services ultimately harmed physicians, patients, and Regeneron. As

a result of the Vetter-Novartis conspiracy and the significant market power flowing from that

agreement, the onset of competition to LUCENTIS PFS was delayed by multiple years, leaving

LUCENTIS PFS as effectively the only anti-VEGF PFS approved by the FDA on the market.

       225.    Novartis and Vetter did not stop there, however. They doubled down on their



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anticompetitive conduct after the ’631 Patent issued in December 2015. Vetter again demanded

the same anticompetitive license terms from Regeneron in late 2017. Then, after Regeneron

successfully created a new supply and filler chain for EYLEA PFS, and when BEOVU’s serious

safety problems came to light, Defendants took the next logical step in their conspiracy. Novartis

sued Regeneron with its fraudulently procured ’631 Patent on June 19, 2020, in the NDNY and

also sought an exclusion order from ITC. Thus, despite knowing that the ’631 Patent was

fraudulently procured and unenforceable, Novartis filed multiple litigations in yet another attempt

to block EYLEA PFS from the U.S. market altogether, or at the very least, to artificially increase

Regeneron’s costs even more by erecting anticompetitive barriers to sale.

       226.    Novartis and Vetter’s anticompetitive and exclusionary conduct has directly and

proximately caused injury to Regeneron’s business and property. Regeneron has been forced to

divert precious and limited resources (which would otherwise be used for research and

development to the benefit of patients) to navigate around the artificial and anticompetitive barriers

that Defendants erected. Specifically, Regeneron has incurred additional substantial and

unnecessary costs, including for manufacturing and development, for its EYLEA PFS, spending

years to develop an entirely new and alternative reliable supply of EYLEA PFS using a different

filler, assembly lines, syringes, siliconization, terminal sterilization, and PFS parts.

       227.    Now that Regeneron has launched EYLEA PFS in the United States in competition

with LUCENTIS PFS, Regeneron is being forced to spend time and resources defending bogus

litigation on multiple fronts and invalidating Novartis’s fraudulently procured ’631 Patent. In

addition, Regeneron will be forced to incur even more costs related to EYLEA PFS, such as

securing alternative domestic supply for PFS syringes and obtaining the necessary regulatory

approvals, and/or preparing for the possibility that EYLEA will be limited to vials. If Regeneron



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is forced to return its production and sales to EYLEA vials, it will incur substantial costs related

to: (1) securing new sources of the required glass vials, stoppers, needles, containers, or other

components; (2) identifying and negotiating vial filling capacity with third parties; (3) reserving

contingent vial production capacity; (4) manufacturing additional bulk product for the contingent

vial production; and (5) locating a new supplier or renegotiating with a current supplier to assemble

the vial kits. Additionally, Regeneron may suffer a reduction in EYLEA sales due to the

uncertainty that physicians will be able to continue prescribing EYLEA PFS.

       228.    Novartis’s and Vetter’s anticompetitive conduct has harmed competition by

delaying innovation in the anti-VEGF PFS market, depriving U.S. physicians and patients of a

meaningful choice and a preferred treatment, and reducing the availability of PFS ophthalmic

disease treatments. If Novartis succeeds in its ITC action, Defendants will eliminate EYLEA PFS

from the U.S. market, thereby restoring the LUCENTIS PFS monopoly. Novartis admits that the

U.S. launch of EYLEA PFS has caused it to suffer “harm” that includes “loss of market share,

price erosion,…and direct and indirect competition.”80 The “harms” that Novartis complains of

are the very benefits of competition that the U.S. antitrust laws are designed to protect. If EYLEA

PFS is excluded, physician and patients will lose these benefits of competition, once again

allowing Novartis to control prices and exclude rivals in the anti-VEGF PFS market.

       229.    Most harmful of all, Defendants will deprive patients and physicians of EYLEA in

a more convenient and easier method of administration altogether. Defendants are trying to force

physicians to make a choice: choose the product regarded by many physicians and patients as

superior—EYLEA (but in the significantly less preferred vial presentation)—or choose the more

accurate and more convenient method of administration—LUCENTIS PFS (but with more


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       Novartis NDNY Compl. at ⁋ 32.


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frequent injections and lower efficacy for certain indications). The third option, Novartis’s

BEOVU, provides neither the safety of EYLEA nor the convenience of a PFS. Patients should not

be forced to make this harmful tradeoff. Absent Defendants’ anticompetitive conduct, physicians

and patients could—and should—have all of these medical advantages combined into one

treatment, Regeneron’s EYLEA PFS.

       230.   These injuries to Regeneron and to competition are of the type the U.S. antitrust

laws are intended to prevent and flow directly from Defendants’ conduct in violation of Section 1

of the Sherman Act.

       231.   There is no procompetitive justification for the collusive agreement between

Novartis and Vetter. This was no ordinary settlement of a patent ownership dispute between

Novartis and Vetter as Novartis used it to acquire control over Vetter’s filling customers and

relationships. After collaborating with Regeneron for a long period of time, Vetter suddenly

demanded exclusivity and, failing that, denied Regeneron access altogether to Vetter’s unique PFS

filling services for anti-VEGFs. Indeed, denying access had the effect of preventing and delaying

Regeneron from obtaining PFS filling services necessary to compete against Novartis in selling an

alternative, FDA-approved anti-VEGF PFS for the treatment of certain ophthalmic diseases.

       232.   Regeneron seeks injunctive relief, actual damages, trebled, plus interest, as well as

attorneys’ fees and costs under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26.




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                                     PRAYER FOR RELIEF

                WHEREFORE, Plaintiff Regeneron prays:

        A.      For judgment that:

                (i)     Defendants Novartis’s and Vetter’s conduct as stated in this Complaint

violates Section 1 of the Sherman Act, 15 U.S.C. § 1;

                (ii)    Defendant Novartis’s conduct as stated in this Complaint violates Section 2

of the Sherman Act, 15 U.S.C. § 2;

                (iii)   the ’631 Patent be declared unenforceable;

        B.      For injunctive relief restraining and enjoining Defendants from continuing their

unlawful conduct in violation of the Sherman Act;

        C.      That Defendants be required to pay to Plaintiff Regeneron:

                (i)     three times the actual damages sustained by Plaintiff as a result of

Defendants’ violations complained of herein;

                (ii)    Plaintiff’s costs, disbursements, expenses, and reasonable attorneys’ fees in

bringing this action; and

        D.      For any such other relief that this Court deems just and proper.


                                         JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), Regeneron demands a trial by jury on

all issues triable by jury.




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Dated: July 17, 2020              By: /s/ Elizabeth Stotland Weiswasser
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